Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 1 of 71 PageID 2220




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA |
                                  JACKSONVILLE DIVISION


 In re: Brinker Data Incident Litigation                Case No.: 18-cv-00686-TJC-MCR

                                                        THIRD AMENDED
                                                        CONSOLIDATED CLASS ACTION
                                                        COMPLAINT

                                                        Jury Trial Demanded




           Plaintiffs Marlene Green-Cooper, Shenika Theus1, Michael Franklin, and Eric Steinmetz

 (“Plaintiffs”), individually and on behalf of the Classes defined below of similarly situated

 persons, allege the following against Brinker International, Inc. (“Brinker”) based upon personal

 knowledge with respect to themselves and on information and belief derived from, among other

 things, investigation of counsel and review of public documents as to all other matters:

                                      NATURE OF THE CASE

           1.     Plaintiffs bring this class action case against Defendant Brinker for its failures to

 secure and safeguard customers’ credit and debit card numbers and other payment card data

 (“PCD”), and other personally identifiable information (“PII”) that Brinker collected at the time

 Plaintiffs made purchases at Chili’s restaurants owned and operated by Brinker, and for failing to

 provide timely, accurate, and adequate notice to Plaintiffs and other Class members that their PCD




 1
     Ms. Theus was incorrectly identified in earlier pleadings as Shenika Thomas.
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 2 of 71 PageID 2221




 and PII (hereinafter, collectively, “Customer Data”) had been stolen and precisely what types of

 information were stolen.

        2.      On May 12, 2018, Brinker acknowledged that customers who used payment cards

 for transactions at certain corporate-owned Chili’s restaurants (“Chili’s”) located throughout the

 United States from March through April 2018 had their Customer Data stolen (the “Data Breach”).

 Brinker stated that “malware was used to gather payment card information including credit or debit

 card numbers as well as cardholder names from our payment-related systems for in-restaurant

 purchases at certain Chili’s restaurants.”2

        3.      This private Customer Data was compromised due to Brinker’s acts and omissions

 and its failure to properly protect the Customer Data.

        4.      Brinker could have prevented this Data Breach. Data breaches at other restaurant

 chains and retail establishments in the last few years have been the result of malware installed on

 point-of-sale (“POS”) systems. While many retailers, restaurant chains, and other companies have

 responded to data breaches by adopting technology that helps make transactions more secure,

 Brinker did not.

        5.      In addition to Brinker’s failure to prevent the Data Breach, Brinker also failed to

 detect the breach for two months.

        6.      The Data Breach was the result of Brinker’s inadequate approach to data security

 and protection of Customer Data that it collected during the course of its business. The deficiencies




 2
  See Brinker International News Releases, Notice of Unauthorized Access to Chili’s Grill & Bar
 Guest Data, available at http://brinker.mediaroom.com/ChilisDataIncident (last visited May 16,
 2018).
                                                  2
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 3 of 71 PageID 2222




 in Brinker’s data security were so significant that the malware installed by hackers remained

 undetected and intact in Brinker’s systems for months.

        7.      The susceptibility of POS systems to malware is well-known throughout the

 restaurant industry, as well as the retail industry. In the last five years, practically every major

 data breach involving retail stores or fast-food restaurant chains has been the result of malware

 placed on POS systems. Accordingly, data security experts have warned companies, “[y]our POS

 system is being targeted by hackers. This is a fact of 21st-century business.”3 Unfortunately,

 Brinker’s profit-driven decision to ignore warnings like this led to the damage alleged here.

        8.       Brinker disregarded the rights of Plaintiffs and Class members by intentionally,

 willfully, recklessly, or negligently failing to take adequate and reasonable measures to ensure its

 data systems were protected, failing to disclose to its customers the material fact that it did not

 have adequate computer systems and security practices to safeguard Customer Data, failing to take

 available steps to prevent and prevent the Breach, failing to monitor and timely detect the Data

 Breach, and failing to provide Plaintiffs and Class members prompt and accurate notice of the Data

 Breach.

        9.      As a result of Brinker’s Data Breach, Plaintiffs’ and Class members’ Customer Data

 have been exposed to criminals for misuse. The injuries suffered by Plaintiffs and Class members

 as a direct result of the Data Breach include:

                a. unauthorized charges on debit and credit card accounts;

                b. theft of personal and financial information;


 3
   Datacap Systems Inc., Point of sale security: Retail data breaches at a glance,
 https://www.datacapsystems.com/blog/point-of-sale-security-retail-data-breaches-at-a-glance#
 (last visited May 24, 2018).
                                                  3
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 4 of 71 PageID 2223




            c. costs associated with the detection and prevention of identity theft and

               unauthorized use of financial accounts;

            d. damages arising from the inability to use debit or credit card accounts because

               accounts were suspended or otherwise rendered unusable as a result of

               fraudulent charges stemming from the Data Breach, including but not limited to

               foregoing cash back rewards;

            e. damages arising from the inability to withdraw or otherwise access funds

               because accounts were suspended, restricted, or otherwise rendered unusable as

               a result of the Data Breach, including, but not limited to, missed bill and loan

               payments, late-payment charges, and lowered credit scores and other adverse

               impacts on credit;

            f. costs associated with spending time to address and mitigate the actual and future

               consequences of the Data Breach such as finding fraudulent charges, cancelling

               and reissuing payment cards, purchasing credit monitoring and identity theft

               protection services, imposition of withdrawal and purchase limits on

               compromised accounts, including, but not limited to, lost productivity and

               opportunity(ies), time taken from the enjoyment of one’s life, and the

               inconvenience, nuisance and annoyance of dealing with all issues resulting from

               the Data Breach;

            g. the imminent and certainly impending injury resulting from the potential fraud

               and identity theft posed by Customer Data being exposed for theft and sale on

               the dark web;


                                              4
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 5 of 71 PageID 2224




                h. costs of products and services purchased at Brinker restaurants during the period

                    of the Data Breach because Plaintiffs and Class members would not have dined

                    at Chili’s had Brinker disclosed that it lacked adequate systems and procedures

                    to reasonably safeguard Customer Data;

                i. damages to and diminution in value of Customer Data entrusted to Brinker for

                    the sole purpose of purchasing products and services from Brinker; and

                j. the loss of Plaintiffs’ and Class members’ privacy.

        10.     The injuries to Plaintiffs and Class members were directly and proximately caused

 by Brinker’s failure to implement or maintain adequate data security measures for Customer Data.

        11.     Plaintiffs and Class members retain a significant interest in ensuring that their PII

 and PCD, which remain in Brinker’s possession, are protected from further breaches, and seek to

 remedy the harms suffered as a result of the Data Breach for themselves and on behalf of similarly

 situated consumers whose Customer Data was stolen.

        12.     Plaintiffs, individually and on behalf of similarly situated consumers, seek to

 recover damages, equitable relief, including injunctive relief designed to prevent a reoccurrence

 of the Data Breach and resulting injuries, restitution, disgorgement, reasonable costs and attorney

 fees, and all other remedies this Court deems proper.

                                 JURISDICTION AND VENUE

        13.     This Court has subject matter jurisdiction over this action under the Class Action

 Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

 interest and costs. There are more than 100 putative class members, and at least some members of

 the proposed Class have a different citizenship from Brinker.


                                                  5
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 6 of 71 PageID 2225




         14.     This Court has jurisdiction over Brinker as it operates restaurants serving the public,

 and it is at one of the restaurants in this District that Plaintiff Marlene Green-Cooper made a

 purchase using her payment card which led to her sustaining damage. Brinker also advertises in a

 variety of media throughout the United States, including Florida and this District. Through its

 business operations in this District, Brinker intentionally avails itself of the markets within this

 District to render the exercise of jurisdiction by this Court just and proper.

         15.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a

 substantial part of the events and omissions giving rise to this action occurred in this District,

 Brinker operates restaurants within this District, and Brinker has caused harm to Class members

 residing in this District.

                                               PARTIES

         16.     Plaintiff Marlene Green-Cooper is a resident and citizen of the state of Florida.

         17.     Plaintiff Shenika Theus is a resident and citizen of the state of Texas.

         18.     Plaintiff Michael Franklin is a resident and citizen of the state of California.

         19.     Plaintiff Eric Steinmetz is a resident and citizen of the state of Nevada.

         20.     Defendant Brinker International, Inc. is a Delaware corporation with its principal

 place of business located in Dallas, Texas.

         21.     Brinker “own[s], develop[s], operate[s], and franchise[s] the Chili’s® Grill & Bar

 (‘Chili’s’) and Maggiano’s Little Italy® (‘Maggiano’s’) restaurant brands.”4




 4
  Brinker Int’l, Inc. 2017 Form 10-K, at 2, available at http://investors.brinker.com/static-
 files/cd230d3d-3a9a-406a-bc86-32d7ae836657 (last visited February 28, 2020).
                                                    6
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 7 of 71 PageID 2226




        22.       Brinker’s restaurant system consists of more than 1,600 restaurants and over

 100,000 team members in 31 countries and two territories.5

        23.       Brinker restaurants accept payment for goods and services through a point of sale

 system (“POS system”), through which customers swipe credit and debit cards to pay.

                                   STATEMENT OF FACTS

 A.     Plaintiffs’ Transactions

        28.       Plaintiff Marlene Green-Cooper has dined at the Chili’s located at 2005 East West

 Parkway, Fleming Island, Florida and the Chili’s located at 9530 Applecross Road, Jacksonville,

 Florida.

        29.       On or around April 18, 2018, Ms. Green-Cooper purchased food at the Chili’s in

 Fleming Island, Florida and paid with her VyStar debit card, which is linked to a checking account

 at VyStar Credit Union.

        30.       Within days thereafter, Ms. Green-Cooper noticed three (3) unauthorized charges

 to her account even though she had physical possession of her debit card at all times. Ms. Green-

 Cooper then contacted the credit union to dispute the charges. The credit union completed an

 investigation and eventually issued a new debit card. Ms. Green-Cooper continues to monitor her

 account on a daily basis in an effort to detect and prevent any further misuse.

            28.   Ms. Green-Cooper’s VyStar debit card that was compromised in the Data Breach is

 connected to a cash-back rewards program. While awaiting a replacement card following the Data




 5
  Maggiano’s accounts for only 51 of these over 1,600 locations. See
 http://www.brinker.com/company/maggianos.html (last visited May 16, 2018); see also Exhibit
 2 at 15.
                                                  7
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 8 of 71 PageID 2227




 Breach and fraudulent charges, Ms. Green-Cooper had to use alternative methods of payment and,

 thus, lost the opportunity to accrue cash back rewards during that time.

         29.    Ms. Green-Cooper has spent time dealing disputing the charges and getting a

 replacement card.

         30.    Plaintiff Shenika Thomas has dined at the Chili’s located at 3271 North President

 George Bush Highway, Garland, Texas.

         31.    On or about March 31, 2018, Ms. Theus purchased food at the Chili’s in Garland,

 Texas and paid with her GreenDot Visa card.

         32.    On or about May 7, 2018, Ms. Theus noticed three (3) unauthorized charges on her

 debit card even though she maintained physical possession of her card at all times. Two (2)

 additional charges appeared at a later date. Ms. Theus contacted the bank, cancelled the GreenDot

 Visa card, and disputed the charges. Ms. Theus continues to monitor her account in an effort to

 detect and prevent any further misuse.

         33.    Ms. Theus’s Visa card that was compromised in the Data Breach is connected to a

 cash-back rewards program. While awaiting a replacement card following the Data Breach and

 fraudulent charges, Ms. Theus had to use alternative methods of payment and, thus, lost the

 opportunity to accrue cash back rewards during that time.

         34.    Ms. Theus has spent time disputing the charges and getting a replacement card.

         35.    Plaintiff Michael Franklin has dined at the following Chili’s locations: 20760 South

 Avalon Boulevard, Carson, California and 4931 Candlewood Street, Lakewood, California




                                                  8
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 9 of 71 PageID 2228




            36.   On or about March 17, 2018, Mr. Franklin purchased food at the Chili’s in Carson,

 California. On or about April 22, 2018, Mr. Franklin purchased food at the Chili’s in Lakewood,

 California. On both occasions, Mr. Franklin paid using a Chase Visa debit card.

            37.   After these visits to Chili’s, two (2) fraudulent charges were made to Mr. Franklin’s

 account.

            38.   Upon learning that his Personal Information had been compromised and/or stolen

 when he received an email from his credit monitoring service and a fraud alert from Chase bank,

 Plaintiff returned to the Chili’s restaurants where he had made purchases during the breach period

 and requested copies of his receipts, called his bank to dispute fraudulent charges, called Experian

 to dispute fraudulent loan applications and resultant adverse impacts on his credit, and monitored

 his debit and credit card accounts for fraudulent activity.

            39.   Mr. Franklin’s Chase card that was compromised in the Data Breach is connected

 to a points-accrual reward program. While awaiting a replacement card following the Data Breach

 and fraudulent charges, he had to use alternative methods of payment and, thus, lost the opportunity

 to accrue points during that time.

            40.   Mr. Franklin has spent approximately five or six hours making phone calls to his

 bank over a period of several days in seeking to have the fraudulent charges reversed. Mr. Franklin’s

 bank cancelled the affected card and issued him a new card, which took seven (7) days to arrive.

            41.   Plaintiff Eric Steinmetz has dined at the Chili’s located at 6505 N. Decatur Blvd.,

 North Las Vegas, Nevada.

            42.   On or about April 4, 2018, Mr. Steinmetz purchased food from the Chili’s in North

 Las Vegas, Nevada and paid with a Wells Fargo debit card.


                                                    9
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 10 of 71 PageID 2229




         43.    After learning of the Data Breach, Mr. Steinmetz called the Las Vegas Chili’s

 location where he had dined, as well as Chili’s national office seeking answers regarding the Data

 Breach and his compromised Customer Data. No one at Chili’s, not even the national office, could

 give him any information regarding the Data Breach. Concerned that he was unable to obtain

 definitive answers from Chili’s regarding the Data Breach, Plaintiff Eric Steinmetz procured his

 consumer disclosures from all three credit reporting agencies, Experian, Equifax, and TransUnion.

 He also requested that his bank cancel his debit card and issue a new one. He would not have had

 to take any of this action had his Customer Data not been compromised in the Data Breach.

         44.    Consequently, Plaintiff Eric Steinmetz lost time dealing with issues related to the

 Chili’s Data Breach in cancelling his debit card, speaking on the phone to Chili’s representatives

 regarding the Data Breach, and in procuring and considering his disclosures to determine if any

 fraudulent activity was present. Plaintiff also incurred transportation costs of gasoline in driving to

 Wells Fargo to cancel his debit card and obtain a temporary card.

         45.    Plaintiffs would not have used their credit or debit cards to make purchases at

 Chili’s—indeed, they would not have made purchases at Chili’s at all during the period of the Data

 Breach—had Chili’s told them that it lacked adequate computer systems and data security practices

 to safeguard customers’ personally identifiable information from theft.

         46.    Plaintiffs suffered actual injury from having their Customer Data stolen as a result

 of the Data Breach.

         47.    Plaintiffs suffered actual injury and damages in paying money to and purchasing

 products from Chili’s during the Data Breach, expenditures which they would not have made had




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Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 11 of 71 PageID 2230




 Chili’s disclosed that it lacked computer systems and data security practices adequate to safeguard

 customers’ PII from theft.

         48.    Plaintiffs suffered actual injury in the form of damages to and diminution in the

 value of their Customer Data—a form of intangible property that Plaintiffs entrusted to Chili’s for

 the purpose of purchasing Chili’s products and which was compromised in and as a result of the

 Data Breach.

         49.    Plaintiffs suffered lost time, annoyance, interference, and inconvenience as a result

 of the Data Breach, and have concerns for the loss of their privacy.

         50.    Plaintiffs have suffered imminent and impending injury arising from the

 substantially increased risk of fraud, identity theft, and misuse resulting from their PII being placed

 in the hands of criminals.

         51.    Plaintiffs have a continuing interest in ensuring that their personally identifiable

 information, which remains in the possession of Chili’s, is protected and safeguarded from future

 breaches.

 B.     Brinker and Its Customer Data Collection Practices

        57.     In 2016, Brinker produced a report of system-wide revenue totaling more than $3

 billion. See Brinker 2017 Annual Report at its exhibit 13, pp. F-1.

        58.     Brinker operates Chili’s Grill & Bar restaurants, a casual dining restaurant chain

 specializing in “Fresh Mex” and “Fresh Tex” dishes such as burgers, ribs, fajitas, and margaritas.

 The first Chili’s restaurant opened in 1975 in Dallas, Texas, and, since then, Chili’s has expanded

 to over 1,600 restaurants worldwide, including approximately 1,000 restaurants owned and

 operated by Brinker (those at issue in this Data Breach) and the remainder operating under a


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Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 12 of 71 PageID 2231




 franchisee license agreement. See generally Exhibit 1; see also Brinker, Our Company, available

 at http://brinker.com/company/default.html (last visited May 17, 2018); Brinker, Our Brands –

 Chili’s Grill & Bar, available at http://brinker.com/company/chilis.html (last visited May 17,

 2018).

          59.    Chili’s appeals to a broad population, with “[m]ore than 50 million Americans

 visit[ing] Chili’s every three months.” 2017 Annual Report at 6.

          60.    Notably, Chili’s has long touted its technological innovation: “we . . . pioneered the

 use of tabletop devices inside the restaurants, which allow guests to order and re-order menu items,

 enjoy entertainment and assert more control over their dining experience by paying through the

 tabletop device when they choose.” 2017 Annual Report at 2. “The Chili’s brand has leveraged

 technology initiatives to create a digital guest experience that we believe will help us engage our

 guests more effectively. We have launched a new online ordering system that expands our current

 capabilities and gives our guests greater control of their to-go experience. Our upgraded Chili’s

 mobile app provides the capability for digital curbside service where guests can order, pay and

 notify us of their arrival all through the app.” Id. at 3.

          61.    “All domestic Chili’s restaurants, with the exception of airport and college

 locations, are now outfitted with tabletop devices, which gives us the largest network of tabletop

 devices in the country. The Ziosk® branded tabletop device is a multi-functional device which

 provides ordering, guest survey and pay-at-the-table capabilities; loyalty program functionality;

 and entertainment.” Brinker Int’l, Inc. 2016 Form 10-K at 3, attached hereto as Exhibit 2.

          62.    Given this express emphasis on technology at Chili’s, however, Brinker also

 recognized certain inherent risks:


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Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 13 of 71 PageID 2232




                We are dependent on information technology, and any material
                failure in the operation or security of that technology or our
                ability to execute a comprehensive business continuity plan
                could impair our ability to efficiently operate our business.

                We rely on information systems across our operations, including,
                for example, point-of-sale processing in our restaurants . . . . A
                security breach or cyber attack could include theft of credit card data
                or other personal information as well as our intellectual
                property. . . .

                Failure to protect the integrity and security of individually
                identifiable data of our guests and teammates and confidential
                and proprietary information of the company could damage our
                reputation and expose us to loss of revenues and litigation.

                We receive and maintain certain personal information about our
                guests and team members in our information technology systems,
                such as point-of-sale, web and mobile platforms, including our
                rewards program. . . . Like many other retail companies, we
                experience frequent attempts to compromise our systems . . . .

 Exhibit 1 at 12. (emphasis in original).

        63.     Despite the recognition of these risks, however, Brinker failed to adequately secure

 its POS systems, placing the purchasing information of its customers at risk and resulting in the

 Data Breach.

        64.     A significant portion of sales at Brinker are made using credit or debit cards. When

 customers pay using credit or debit cards, Brinker collects Customer Data related to those cards

 including the cardholder name, the account number, expiration date, card verification value

 (“CVV”), and PIN data for debit cards. Brinker stores the Customer Data in its POS system and

 transmits this information to a third party for processing and completion of the payment.




                                                  13
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 14 of 71 PageID 2233




        65.     At all relevant times, Brinker was well-aware, or reasonably should have been

 aware, that the Customer Data collected, maintained and stored in the POS systems is highly

 sensitive, susceptible to attack, and could be used for wrongful purposes by third parties, such as

 identity theft and fraud.

        66.     It is well known and the subject of many media reports that Customer Data is highly

 coveted and a frequent target of hackers. Despite the frequent public announcements of data

 breaches at retailers and restaurant chains, Brinker maintained an insufficient and inadequate

 system to protect the Customer Data of Plaintiffs and Class members.

        67.     Customer Data is a valuable commodity because it contains not only payment card

 numbers but also PII. A “cyber black market” exists in which criminals openly post stolen payment

 card numbers, social security numbers, and other personal information on multiple underground

 Internet websites. Customer Data is valuable to identity thieves because they can use victims’

 personal data to open new financial accounts and take out loans in another person’s name, incur

 charges on existing accounts, or clone ATM, debit, and credit cards.

        68.     Legitimate organizations and the criminal underground alike recognize the value of

 PII contained in a merchant’s data systems; otherwise, the latter would not aggressively seek or

 pay for it. For example, in “one of 2013’s largest breaches . . . not only did hackers compromise

 the [card holder data] of three million customers, they also took registration data [containing PII]

 from 38 million users.”6




 6
   Verizon 2014 PCI Compliance Report, available at:
 https://www.cisco.com/c/dam/en_us/solutions/industries/docs/retail/verizon_pci2014.pdf
 (hereafter “2014 Verizon Report”), at 54 (last visited April 10, 2017).
                                                 14
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 15 of 71 PageID 2234




        69.     Professionals tasked with trying to stop fraud and other misuse know that PCD and

 PII have real monetary value in part because criminals continue their efforts to obtain this data.7 In

 other words, if any additional breach of sensitive data did not have incremental value to criminals,

 one would expect to see a reduction in criminal efforts to obtain such additional data over time.

 However, just the opposite has occurred. For example, the Identity Theft Resource Center reported

 1,579 data breaches in 2017, which represents a 44.7 percent increase over the record high figures

 reported for 2016.8

        70.     Consumers’ PII remains of high value to identity criminals, as evidenced by the

 prices criminals will pay through black-market sources, or what is often called the dark web.

 Numerous sources cite dark web pricing for stolen identity credentials. For example, a complete set

 of bank account credentials can fetch a thousand dollars or more (depending on the associated credit

 score or balance available to criminals).9 Experian reports that a stolen credit or debit card number

 can sell for $5-110 on the dark web. 10

        71.     At all relevant times, Brinker knew, or reasonably should have known, of the

 importance of safeguarding Customer Data and of the foreseeable consequences that would occur




 7
   Data Breaches Rise as Cybercriminals Continue to Outwit IT, CIO Magazine,
 http://www.cio.com/article/2686167/data-breach/data-breaches-rise-as-cybercriminals-continue-
 to-outwit-it.html, October 2016.
 8
   2017 Annual Data Breach Year-End Review, https://www.idtheftcenter.org/2017-data-
 breaches, accessed February 14, 2018.
 9
   Here’s How Much Thieves Make By Selling Your Personal Data Online, Business Insider,
 http://www.businessinsider.com/heres-how-much-your-personal-data-costs-on-the-dark-web-
 2015-5, May 27, 2015.
 10
    Here’s How Much Your Personal Information Is Selling for on the Dark Web
 https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-
 selling-for-on-the-dark-web/, accessed May 28, 2018.
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Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 16 of 71 PageID 2235




 if its data security system was breached, including, specifically, the significant costs that would be

 imposed on its customers as a result of a breach.

        72.     Brinker was, or should have been, fully aware of the significant volume of daily

 credit and debit card transactions at Chili’s restaurants, amounting to tens of thousands of daily

 payment card transactions, and thus, the significant number of individuals who would be harmed

 by a breach of Brinker’s systems.

        73.     Unfortunately, and as alleged below, despite all of this publicly available

 knowledge of the continued compromises of Customer Data in the hands of other third parties,

 such as retailers and restaurant chains, Brinker’s approach to maintaining the privacy and security

 of Plaintiffs’ and Class members’ Customer Data was lackadaisical, cavalier, reckless, or at the

 very least, negligent.

 C.     Brinker Had Notice of Data Breaches Involving Malware on POS Systems

        74.     A wave of data breaches causing the theft of retail payment card information has hit

 the United States in the last several years.11 In 2016, the number of U.S. data breaches surpassed

 1,000, a record high and a forty percent increase in the number of data breaches from the previous

 year.12 The amount of payment card data compromised by data breaches is massive. For example,

 it is estimated that over 100 million cards were compromised in 2013 and 2014.13




 11
    Identity Theft Resource Center, Data Breaches Increase 40 Percent in 2016, Finds New
 Report From Identity Theft Resource Center and CyberScout (Jan. 19, 2017), available at
 https://www.idtheftcenter.org/2016databreaches.html (last visited May 18, 2018).
 12
    Id.
 13
    Symantec, A Special Report On Attacks On Point-of-Sale Systems, p. 3 (Nov. 20, 2014),
 available at: https://origin-www.symantec.com/content/dam/symantec/docs/white-papers/attacks-
 on-point-of-sale-systems-en.pdf (last visited May 17, 2018).
                                                  16
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 17 of 71 PageID 2236




         75.      Most of the massive data breaches occurring within the last several years involved

 malware placed on POS systems used by merchants. A POS system is an on-site device, much like

 an electronic cash register, which manages transactions from consumer purchases, both by cash and

 card. When a payment card is used at a POS terminal, “data contained in the card’s magnetic stripe

 is read and then passed through a variety of systems and networks before reaching the retailer’s

 payment processor.”14 The payment processor then passes the payment information on to the

 financial institution that issued the card and takes the other steps needed to complete the

 transaction.15

         76.      Before transmitting customer data over the merchant’s network, POS systems

 typically, and very briefly, store the data in plain text within the system’s memory.16 The stored

 information includes “Track 1” and “Track 2” data from the magnetic strip on the payment card,

 such as the cardholder’s first and last name, the expiration date of the card, and the CVV (three

 number security code on the card).17 This information is unencrypted on the card and, at least

 briefly, will be unencrypted in the POS terminal’s temporary memory as it processes the data. 18

         77.      In order to directly access a POS device, hackers generally follow four steps:

 infiltration, propagation, exfiltration, and aggregation.19 In the infiltration phase, an “attacker gains



 14
    Id. at 6.
 15
    Salva Gomzin, Hacking Point of Sale: Payment Application Secrets, Threats, and Solutions, 8
 (Wiley 2014), available at: http://1.droppdf.com/files/IS0md/wiley-hacking-point-of-sale-
 payment-application-secrets-threats-and-solutions-2014.pdf (last visited July 18, 2017).
 16
    Id. at 39.
 17
    Id. at 43-50.
 18
    Symantec, supra note 13, at 5.
 19
    Point of Sale Systems and Security: Executive Summary, SANS Institute, 4 (Oct. 2014),
 available at: https://www.sans.org/reading-room/whitepapers/analyst/point-salesystems-security-
 executive-summary-35622 (last visited July 18, 2017).
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Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 18 of 71 PageID 2237




 access to the target environment”20 allowing the hackers to move through a business’s computer

 network, find an entry point into the area that handles consumer payments, and directly access the

 physical POS machines at in-store locations.21 Once inside the system the attacker then infects the

 POS systems with malware, which “collects the desired information . . . and then exfiltrates the data

 to another system” called the “aggregation point.”22

        78.     A 2016 report by Verizon confirmed the vast majority of successful breaches

 leverage legitimate credentials to gain access to the POS environment. Once attackers gain access

 to the POS devices, they install malware, usually a RAM scraper, to capture payment card data.23

        79.     Intruders with access to unencrypted Track 1 and Track 2 payment card data can

 physically replicate the card or use it online. Unsurprisingly, theft of payment card information via

 POS systems is now “one of the biggest sources of stolen payment cards.”24 For example, in 2013,

 hackers infiltrated Target, Inc.’s POS system, stealing information from an estimated 40 million

 payment cards in the United States. In 2014, over 7,500 self-checkout POS terminals at Home

 Depots throughout the United States were hacked, compromising roughly 56 million debit and

 credit cards.25 Likewise, POS systems at more than 1,000 Wendy’s restaurants were infiltrated with

 malware, resulting in the theft of payment cards data for approximately six-months.26


 20
    Id.
 21
    Symantec, supra note 13, at 8.
 22
    SANS Institute, supra note 19, at 4.
 23
    Verizon, 2016 Breach Investigations Report, at 33 available at
 https://www.verizonenterprise.com/resources/reports/rp_DBIR_2016_Report_en_xg.pdf
 (hereafter “2016 Verizon Report”), at 54 (last visited May 18, 2018).
 24
    Symantec, supra note 13, at 3.
 25
    Brett Hawkins, Case Study: The Home Depot Data Breach, 7 (SANS Institute, Jan. 2015),
 available at: https://www.sans.org/reading-room/whitepapers/casestudies/casestudy-home-depot-
 data-breach-36367 (last visited May 18, 2018).
 26
    Krebs on Security, 1,025 Wendy’s Locations Hit in Card Breach (July 8, 2016),
                                                  18
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 19 of 71 PageID 2238




        80.     Given the numerous reports indicating the susceptibility of POS systems and

 consequences of a breach, Brinker was well-aware, or should have been aware, of the need to

 safeguard its POS systems.



 D.     Brinker Failed to Comply with Industry Standards

        81.     Despite the vulnerabilities of POS systems, available security measures and

 reasonable businesses practices would have significantly reduced or eliminated the likelihood that

 hackers could successfully infiltrate business’ POS systems.

        82.     The payment card networks (MasterCard, Visa, Discover, and American Express),

 data security organizations, state governments, and federal agencies have all implemented various

 standards and guidance on security measures designed to prevent these types of intrusions into POS

 systems. However, despite Brinker’s understanding of the risk of data theft via malware installed

 on POS systems, and the widely available resources to prevent intrusion into POS data systems,

 Brinker failed to adhere to these guidelines and failed to take reasonable and sufficient protective

 measures to prevent the Data Breach.

        83.     Security experts have recommended specific steps that retailers should take to

 protect their POS systems. For example, four years ago, Symantec recommended “point to point

 encryption” implemented through secure card readers, which encrypt credit card information in the

 POS system, preventing malware that extracts card information through the POS memory while it

 processes the transaction.27 Moreover, Symantec emphasized the importance of adopting EMV



 https://krebsonsecurity.com/2016/07/1025-wendys-locations-hit-in-card-breach/ (last visited
 May 18, 2018).
 27
    Symantec, supra note 13, at 6.
                                                 19
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 20 of 71 PageID 2239




 chip technology. Datacap Systems, a developer of POS systems, recommended similar preventative

 measures.28

        84.     The major payment card industry brands set forth specific security measures in their

 Card (or sometimes, Merchant) Operating Regulations. Card Operating Regulations are binding on

 merchants and require merchants to: (1) protect cardholder data and prevent its unauthorized

 disclosure; (2) store data, even in encrypted form, no longer than necessary to process the

 transaction; and (3) comply with all industry standards.

        85.     The Payment Card Industry Data Security Standard (“PCI DSS”) is a set of

 requirements designed to ensure that companies maintain consumer credit and debit card

 information in a secure environment.29

        86.     The PCI DSS “was developed to encourage and enhance cardholder data security”

 by providing “a baseline of technical and operational requirements designed to protect account

 data.”30 PCI DSS sets the minimum level of what must be done, not the maximum.

        87.     PCI DSS 3.2, the version of the standards in effect at the time of the Data Breach,

 imposes the following requirements on Brinker: 31




 28
    See Datacap Systems, supra note 3.
 29
    Payment Card Industry Data Security Standard v3.2, at 5 (April 2016) available at
 https://www.pcisecuritystandards.org/document_library?category=pcidss&document=pci_dss
 (last visited July 21, 2017).
 30
    Id.
 31
    Id.
                                                 20
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 21 of 71 PageID 2240




           88.    Among other things, PCI DSS required Brinker to properly secure and protect

 payment card data; not store cardholder data beyond the time necessary to authorize a transaction;

 maintain up-to-date antivirus software and a proper firewall; protect systems against malware;

 regularly test security systems; establish a process to identify and timely fix security

 vulnerabilities; and encrypt payment card data at the point of sale.

           89.    PCI DSS also required Brinker to not store “the full contents of…the magnetic

 stripe located on the back of a card” or “the card verification code or value” after authorization.32

           90.    According to Brinker, the Customer Data stolen in the Data Breach included

 CVV/CSC/CAV/CVC authorization codes and PIN verification data.

           91.    That CVV/CSC/CAV/CVC authorization codes and PIN verification data were part

 of the Customer Data stolen in the Data Breach indicates that Brinker maintains and stores

 CVV/CSC/CAV/CVC authorization codes and PIN verification data longer than allowed by PCI

 DSS.



 32
      Id. at 38 (PCI DSS 3.2.1 and 3.2.2).
                                                  21
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 22 of 71 PageID 2241




        92.     Despite Brinker’s awareness of its data security obligations, Brinker’s treatment of

 PCD and PII entrusted to it by its customers fell far short of satisfying Brinker’s legal duties and

 obligations, and included violations of the PCI DSS. Brinker failed to ensure that access to its data

 systems was reasonably safeguarded, failed to acknowledge and act upon industry warnings and

 failed to use proper security systems to detect and deter the type of attack that occurred and is at

 issue here.


        E.      Brinker Failed to Comply With FTC Requirements

        93.     Federal and State governments have likewise established security standards and

 issued recommendations to temper data breaches and the resulting harm to consumers and financial

 institutions. The Federal Trade Commission (“FTC”) has issued numerous guides for business

 highlighting the importance of reasonable data security practices. According to the FTC, the need

 for data security should be factored into all business decision-making.33

        94.     In 2016, the FTC updated its publication, Protecting Personal Information: A

 Guide for Business, which established guidelines for fundamental data security principles and

 practices for business.34 The guidelines note businesses should protect the personal customer

 information that they keep; properly dispose of personal information that is no longer needed;

 encrypt information stored on computer networks; understand their network’s vulnerabilities; and




 33
    Federal Trade Commission, Start With Security, available at
 https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf (last
 visited May 18, 2018).
 34
    Federal Trade Commission, Protecting Personal Information: A Guide for Business, available
 at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
 information.pdf (last visited May 18, 2018).
                                                  22
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 23 of 71 PageID 2242




 implement policies to correct security problems. The guidelines also recommend that businesses

 use an intrusion detection system to expose a breach as soon as it occurs; monitor all incoming

 traffic for activity indicating someone is attempting to hack the system; watch for large amounts

 of data being transmitted from the system; and have a response plan ready in the event of a breach.

           95.    The FTC recommends that companies not maintain cardholder information longer

 than is needed for authorization of a transaction; limit access to sensitive data; require complex

 passwords to be used on networks; use industry-tested methods for security; monitor for suspicious

 activity on the network; and verify that third-party service providers have implemented reasonable

 security measures.35

           96.    The FTC has brought enforcement actions against businesses for failing to

 adequately and reasonably protect customer data, treating the failure to employ reasonable and

 appropriate measures to protect against unauthorized access to confidential consumer data as an

 unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

 U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

 to meet their data security obligations.

           97.    The FTC has interpreted Section 5 of the FTC Act to encompass failures to

 appropriately store and maintain personal data. The body of law created by the FTC recognizes that

 failure to restrict access to information 36 and failure to segregate access to information37 may

 violate the FTC Act.


 35
      FTC, Start With Security, supra note 33.
 36 In the Matter of LabMD, Inc., Dkt. No. 9357, Slip Opinion, at 15 (“Procedures should be in

 place that restrict users’ access to only that information for which they have a legitimate need.),
 available at https://www.ftc.gov/system/files/documents/cases/160729labmd-opinion.pdf.
 37
    F.T.C. v. Wyndham Worldwide Corp., 799 F.3d 236, 258 (3d Cir. 2015)(companies should use
                                                 23
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 24 of 71 PageID 2243




        98.     Brinker’s failure to employ reasonable and appropriate measures to protect against

 unauthorized access to confidential consumer data constitutes an unfair act or practice prohibited

 by Section 5 of the FTC Act, 15 U.S.C. § 45.

        99.     In this case, Brinker was at all times fully aware of its obligation to protect the

 financial data of Brinker’s customers because of its participation in payment card processing

 networks. Brinker was also aware of the significant repercussions if it failed to do so because

 Brinker collected payment card data from tens of thousands of customers daily and they knew that

 this data, if hacked, would result in injury to consumers, including Plaintiffs and Class members.

        100.    Despite understanding the consequences of inadequate data security, Brinker failed

 to comply with PCI DSS requirements and failed to take additional protective measures beyond

 those required by PCI DSS.

        101.    Despite understanding the consequences of inadequate data security, Brinker

 operated POS systems with outdated operating systems and software; failed to enable point-to-point

 and end-to-end encryption; and, failed to take other measures necessary to protect its data network.

 F.     The Brinker Data Breach

        102.    As early as 2009, Brinker was well-aware of the risks of a data breach:

                We are dependent on information technology and any material
                failure of that technology could impair our ability to efficiently
                operate our business.
                We rely on information systems across our operations, including,
                for example, point-of-sale processing in our restaurants,
                management of our supply chain, collection of cash, payment of
                obligations and various other processes and procedures. Our ability
                to efficiently manage our business depends significantly on the
                reliability and capacity of these systems. The failure of these

 “readily available security measures to limit access between” data storage systems).
                                                 24
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 25 of 71 PageID 2244




                  systems to operate effectively, problems with maintenance,
                  upgrading or transitioning to replacement systems, or a breach in
                  security of these systems could cause delays in customer service and
                  reduce efficiency in our operations. Significant capital investments
                  might be required to remediate any problems.
 Brinker Int’l, Inc., 2009 Form 10-k, attached as Exhibit 3.

           103.   Further, in the years following this acknowledgment of the risks to Customer Data,

 massive data breaches plagued the restaurant industry, including national restaurant chains such

 as Wendy’s, Arby’s, Chipotle, Popeye’s, Noodles & Co., and P.F. Chang’s. Based on the data

 breaches within the restaurant industry, and Brinker’s own acknowledgment of the risks as stated

 above, Brinker knew or should have known that its systems were at risk for a similar malware data

 breach.

           104.   Beginning in March 2018, hackers gained access to Brinker’s data network and

 installed malware on Chili’s POS systems.38 The malware allowed the thieves to download and

 steal copies of Brinker customers’ Customer Data.

           105.   Brinker became aware of breaches to its systems’ security on or about April 19,

 2018, including, but not limited to, the presence of malware on various internal systems as well as

 malicious hacking behavior. Brinker was, therefore, aware its data security was wholly inadequate

 and did not comply with industry standards. Knowledge of its inadequate data security was

 exclusive to Brinker and unknown to Plaintiffs and Class members.




 38
   http://brinker.mediaroom.com/2018-05-12-Notice-of-Unauthorized-Access-to-Chilis-R-Grill-
 Bar-Guest-Data
                                                  25
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 26 of 71 PageID 2245




        106.    The breach became public on May 12, 2018 through Brinker’s announcement. The

 announcement came approximately two months after the breach began. Brinker, however, failed to

 provide any information about the scope or extent of the breach. The announcement in full was:

        On May 11th, 2018, we learned that payment card information of some of our
        Guests who visited certain Chili's® Grill & Bar corporate-owned restaurants have
        been compromised in a data incident. Currently, we believe the data incident was
        limited to between March – April 2018; however, we continue to assess the scope
        of the incident.

        Upon learning of this incident, we immediately activated our response plan. We are
        working with third-party forensic experts to conduct a thorough investigation to
        determine the details of what happened. Law enforcement has been notified of this
        incident and we will continue to fully cooperate.

        While the investigation is still ongoing, we believe that malware was used to gather
        payment card information, including credit or debit card numbers and cardholder
        names, from our payment-related systems for in-restaurant purchases at certain
        Chili's restaurants.

        We deeply value our relationships with our Guests and our priority remains doing
        what is right for them. We are committed to sharing additional information on this
        ongoing       investigation.    More     details     can     be      found     at:
        http://brinker.mediaroom.com/ChilisDataIncident.

        107.    This payment card data was compromised due to Brinker’s acts and omissions and

 its failure to properly protect the Customer Data, despite being aware of recent data breaches

 impacting other national restaurant chains, including the one at P.F. Chang’s, Arby’s, Chipotle,

 and Wendy’s.

        108.    In addition to Brinker’s failure to prevent the Data Breach, Brinker also failed to

 detect the breach for nearly two months.

        109.    Intruders, therefore, had months to collect payment card data unabated. During this

 time, Brinker failed to recognize its systems had been breached and that intruders were stealing data

                                                  26
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 27 of 71 PageID 2246




 on millions of payment cards. Timely action by Brinker likely would have significantly reduced the

 consequences of the breach. Instead, Brinker took more than two months to realize its systems had

 been breached, and thus contributed to the scale of the breach and the resulting damages.

        110.    The Data Breach occurred because Brinker failed to implement adequate data

 security measures to protect its POS networks from the potential danger of a data breach and failed

 to implement and maintain reasonable security procedures and practices appropriate to the nature

 and scope of the Customer Data compromised in the Data Breach.

        111.    While many merchants and vendors have responded to recent breaches by adopting

 technology and security practices that help make transactions and stored data more secure, Brinker

 has not done so.

        112.    The Data Breach was caused and enabled by Brinker’s knowing violation of its

 obligations to abide by best practices and industry standards in protecting Customer Data.

 G.     The Brinker Data Breach Caused Harm and Will Result in Additional Fraud

        113.    Without detailed disclosure to Chili’s customers, consumers, including Plaintiffs

 and Class members, were unknowingly and unwittingly left exposed to continued misuse and

 ongoing risk of misuse of their personal information for months without being able to take

 necessary precautions to prevent imminent harm.

        114.    The ramifications of Brinker’s failure to keep Plaintiffs’ and Class members’ data

 secure are severe.




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Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 28 of 71 PageID 2247




        115.    Consumer victims of data breaches are much more likely to become victim of

 identity fraud. This conclusion is based on an analysis of four years of data that correlated each

 year’s data breach victims with those who also reported being victims of identity fraud.39

        116.    The FTC defines identity theft as “a fraud committed or attempted using the

 identifying information of another person without authority.”40 The FTC describes “identifying

 information” as “any name or number that may be used, alone or in conjunction with any other

 information, to identify a specific person.”41

        117.    Personal identifying information is a valuable commodity to identity thieves once

 the information has been compromised. As the FTC recognizes, once identity thieves have

 personal information, “they can drain your bank account, run up your credit cards, open new utility

 accounts, or get medical treatment on your health insurance.”42

        118.    Identity thieves can use personal information, such as that of Plaintiffs and Class

 members, which Brinker failed to keep secure, to perpetrate a variety of crimes that harm victims.

 For instance, identity thieves may commit various types of government fraud such as: immigration

 fraud; obtaining a driver’s license or identification card in the victim’s name but with another’s

 picture; using the victim’s information to obtain government benefits; or filing a fraudulent tax

 return using the victim’s information to obtain a fraudulent refund.



 39
    2014 LexisNexis True Cost of Fraud Study,
 https://www.lexisnexis.com/risk/downloads/assets/true-cost-fraud-2014.pdf, (last visited July 26,
 2018).
 40
    17 C.F.R § 248.201 (2013).
 41
    Id.
 42
    Federal Trade Commission, Warning Signs of Identity Theft, available at:
 https://www.consumer.ftc.gov/articles/0271-warning-signs-identity-theft (last visited April 10,
 2017).
                                                  28
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 29 of 71 PageID 2248




        119.    Analysis of a 2016 survey of 5,028 consumers found “The quicker a financial

 institution, credit card issuer, wireless carrier or other service provider is notified that fraud has

 occurred on an account, the sooner these organizations can act to limit the damage. Early

 notification can also help limit the liability of a victim in some cases, as well as allow more time

 for law enforcement to catch the fraudsters in the act.”43

        120.    As a result of Brinker’s delay in notifying consumers of the Data Breach, the risk of

 fraud for Plaintiffs and Class members has been driven even higher.

        121.    Some merchants have arrangements with credit card processors, such as Visa and

 Mastercard, to allow authorization for expired payment cards.44 Thus, even though payment card

 may be expired or replaced, a hacker or scammer may be able to use an expired or replaced payment

 card account stolen in a data breach to conduct transactions long after the breach.

        122.    Some merchants, such as Amazon and Netflix, have arrangements with credit card

 processors to update credit card information within the merchant account automatically when a new

 card is issued by the processor.45 Thus, if a hacker or scammer has used a stolen payment card to

 open a merchant account using the cardholder’s name, the card information in the fraudulent

 account may be updated automatically when the card is reissued after a data breach.



 43
    Identity Fraud Hits Record High with 15.4 Million U.S. Victims in 2016, Up 16 Percent
 According to New Javelin Strategy & Research Study, https://www.javelinstrategy.com/press-
 release/identity-fraud-hits-record-high-154-million-us-victims-2016-16-percent-according-new ,
 February 1, 2017.
 44
    See, Lifehacker, How Scammers Can Use Your Old Credit Card Numbers (Jan. 6, 2020),
 available ag https://twocents.lifehacker.com/how-scammers-can-use-your-old-credit-card-
 numbers-1840513053 (last visited February 28, 2020).
 45
    Credit.com, How Companies Know Your New Credit Card Number Before You Give It To
 Them (July 15, 2016), available at https://www.credit.com/blog/2016/07/how-companies-know-
 your-new-credit-card-number-before-you-give-it-to-them-151126/.
                                                  29
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 30 of 71 PageID 2249




           123.   Javelin Strategy and Research reports that identity thieves have stolen $112 billion

 in the past six years.46

           124.   Reimbursing a consumer for a financial loss due to fraud does not make that

 individual whole again. On the contrary, identity theft victims must spend numerous hours and

 their own money repairing the impact to their credit. After conducting a study, the Department of

 Justice’s Bureau of Justice Statistics (“BJS”) found that identity theft victims “reported spending

 an average of about 7 hours clearing up the issues” and resolving the consequences of fraud in

 2014.47

           125.   An independent financial services industry research study conducted for

 BillGuard—a private enterprise that automates the consumer task of finding unauthorized

 transactions that might otherwise go undetected—calculated the average per-consumer cost of all

 unauthorized transactions at roughly US $215 per cardholder incurring these charges,48 some

 portion of which could go undetected and thus must be paid entirely out-of-pocket by consumer

 victims of account or identity misuse.

           126.   There may be a time lag between when harm occurs versus when it is discovered,

 and also between when PII or PCD is stolen and when it is used. According to the U.S. Government

 Accountability Office (“GAO”), which conducted a study regarding data breaches:



 46
    See https://www.javelinstrategy.com/coverage-area/2016-identity-fraud-fraud-hits-inflection-
 point (last visited April 10, 2017).
 47
    Victims of Identity Theft, 2014 (Sept. 2015) available at:
 http://www.bjs.gov/content/pub/pdf/vit14.pdf (last visited April 10, 2017).
 48
    Hadley Malcom, Consumers rack up $14.3 billion in gray charges, research study
 commissioned for Billguard by Aite Research, USA Today (July 25, 2013), available at:
 https://www.usatoday.com/story/money/personalfinance/2013/07/25/consumers-unwanted-
 charges-in-billions/2568645/ (last visited July 26, 2018).
                                                   30
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 31 of 71 PageID 2250




        [L]aw enforcement officials told us that in some cases, stolen data may be held for
        up to a year or more before being used to commit identity theft. Further, once stolen
        data have been sold or posted on the Web, fraudulent use of that information may
        continue for years. As a result, studies that attempt to measure the harm resulting
        from data breaches cannot necessarily rule out all future harm.49

        127.    Thus, Plaintiffs and Class members now face years of constant surveillance of their

 financial and personal records, monitoring, and loss of rights. Plaintiffs and the Class are incurring

 and will continue to incur such damages in addition to any fraudulent credit and debit card charges

 incurred by them and the resulting loss of use of their credit and access to funds, regardless of

 whether such charges are ultimately reimbursed by banks and credit card companies.



 H.     Plaintiffs and Class Members Suffered Damages

        128.    The Customer Data of Plaintiffs and Class members is private and sensitive in

 nature and was left inadequately protected by Brinker. Brinker did not obtain Plaintiff’s and Class

 members’ consent to disclose their Customer Data to any other person as required by applicable

 law and industry standards.

        129.    The Data Breach was a direct and proximate result of Brinker’s failure to properly

 safeguard and protect Plaintiffs’ and Class members’ Customer Data from unauthorized access,

 use, and disclosure, as required by various state and federal regulations, industry practices, and the

 common law, including Brinker’s failure to establish and implement appropriate administrative,

 technical, and physical safeguards to ensure the security and confidentiality of Plaintiffs’ and Class




 49
    GAO, Report to Congressional Requesters, at 29 (June 2007), available at
 http://www.gao.gov/new.items/d07737.pdf (last visited April 10, 2017).
                                                  31
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 32 of 71 PageID 2251




 members’ Customer Data to protect against reasonably foreseeable threats to the security or

 integrity of such information.

        130.    Brinker had the resources to prevent a breach. Brinker made significant expenditures

 to market its products, but neglected to adequately invest in data security, despite the growing

 number of POS intrusions and several years of well-publicized data breaches.

        131.    Had Brinker remedied the deficiencies in its POS systems, followed PCI DSS

 guidelines, and adopted security measures recommended by experts in the field, Brinker would

 have prevented intrusion into its POS systems and, ultimately, the theft of its customers’

 confidential payment card information.

        132.    As a direct and proximate result of Brinker’s wrongful actions and inaction and the

 resulting Data Breach, Plaintiffs and Class members have been placed at an imminent, immediate,

 and continuing increased risk of harm from identity theft and identity fraud, requiring them to take

 the time which they otherwise would have dedicated to other life demands such as work and family

 in an effort to mitigate the actual and potential impact of the Data Breach on their lives including,

 inter alia, by placing “freezes” and “alerts” with credit reporting agencies, contacting their

 financial institutions, closing or modifying financial accounts, closely reviewing and monitoring

 their credit reports and accounts for unauthorized activity, and filing police reports. This time has

 been lost forever and cannot be recaptured.

        133.    Brinker’s wrongful actions and inaction directly and proximately caused the theft

 and dissemination into the public domain of Plaintiffs’ and Class members’ Customer Data,

 causing them to suffer, and continue to suffer, economic damages and other actual harm for which

 they are entitled to compensation, including:


                                                  32
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 33 of 71 PageID 2252




       a.    theft of their personal and financial information;

       b.    unauthorized charges on their debit and credit card accounts;

       c.    the imminent and certainly impending injury flowing from potential fraud and

             identity theft posed by their credit/debit card and personal information being placed

             in the hands of criminals and misused via the sale of Plaintiffs’ and Class members’

             information on the Internet’s black market;

       d.    the untimely and inadequate notification of the Data Breach;

       e.    the improper disclosure of their Customer Data;

       f.    loss of privacy;

       g.    money paid for food purchased at Chili’s restaurants during the period of the Data

             Breach in that Plaintiffs and Class members would not have dined at Chili’s, or at

             least would not have used their payment cards for purchases, had Brinker disclosed

             that it lacked adequate systems and procedures to reasonably safeguard customers’

             financial and personal information and had Brinker provided timely and accurate

             notice of the Data Breach;

       h.    ascertainable losses in the form of out-of-pocket expenses and the value of their

             time reasonably incurred to remedy or mitigate the effects of the Data Breach;

       i.    ascertainable losses in the form of deprivation of the value of their PII and PCD,

             for which there is a well-established national and international market;

       j.    ascertainable losses in the form of the loss of cash back or other benefits as a result

             of their inability to use certain accounts and cards affected by the Data Breach;




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Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 34 of 71 PageID 2253




         k.      loss of use of, and access to, their account funds and costs associated with the

                 inability to obtain money from their accounts or being limited in the amount of

                 money they were permitted to obtain from their accounts, including missed

                 payments on bills and loans, late charges and fees, and adverse effects on their

                 credit including adverse credit notations; and,

         l.      the loss of productivity and value of their time spent to address, attempt to

                 ameliorate, mitigate, and deal with the actual and future consequences of the Data

                 Breach, including finding fraudulent charges, cancelling and reissuing cards,

                 purchasing credit monitoring and identity theft protection services, imposition of

                 withdrawal and purchase limits on compromised accounts, and the inconvenience,

                 nuisance and annoyance of dealing with all such issues resulting from the Data

                 Breach.

         134.    While the Customer Data of Plaintiffs and Class members have been stolen, Brinker

 continues to hold Customer Data of consumers, including Plaintiffs and Class members.

 Particularly because Brinker has demonstrated an inability to prevent a breach or stop it from

 continuing even after being detected, Plaintiffs and Class members have an undeniable interest in

 ensuring that their Customer Data is secure, remains secure, is properly and promptly destroyed,

 and is not subject to further theft.




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Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 35 of 71 PageID 2254




                                        CLASS ALLEGATIONS

         135.    Plaintiffs seek relief on behalf of themselves and as representatives of all others

 who are similarly situated. Pursuant to Fed. R. Civ. P. Rule 23(a), (b)(2), (b)(3) and (c)(4),

 Plaintiffs seek certification of a Nationwide class defined as follows:

         All persons residing in the United States who made a credit or debit card purchase
         at any affected Chili’s location during the period of the Data Breach (the
         “Nationwide Class”).

         136.    Pursuant to Rule 23, and in the alternative to claims asserted on behalf of the

 Nationwide Class, Plaintiffs assert claims under the laws of the individual States of Florida, and

 California, and on behalf of separate statewide classes, defined as follows:

         All persons residing in [California or Florida] who made a credit or debit card
         purchase at any affected Chili’s location during the period of the Data Breach (the
         “Statewide Classes”).

         137.    Excluded from each of the above Classes are Brinker and any of its affiliates,

 parents or subsidiaries; all employees of Brinker; all persons who make a timely election to be

 excluded from the Class; government entities; and the judges to whom this case is assigned, their

 immediate families, and court staff.

         138.    Plaintiffs hereby reserve the right to amend or modify the class definitions with

 greater specificity or division after having had an opportunity to conduct discovery.

         139.    Each of the proposed Classes meets the criteria for certification under Rule 23(a),

 (b)(2), (b)(3) and (c)(4).

         140.    Numerosity. Fed. R. Civ. P. 23(a)(1). Consistent with Rule 23(a)(1), the members

 of the Class are so numerous and geographically dispersed that the joinder of all members is

 impractical. While the exact number of Class members is unknown to Plaintiffs at this time, the


                                                  35
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 36 of 71 PageID 2255




 proposed Class include potentially millions of customers whose data was compromised in the Data

 Breach. Class members may be identified through objective means. Class members may be notified

 of the pendency of this action by recognized, Court-approved notice dissemination methods, which

 may include U.S. mail, electronic mail, internet postings, and/or published notice.

        141.    Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). Consistent with Rule 23(a)(2)

 and with 23(b)(3)’s predominance requirement, this action involves common questions of law and

 fact that predominate over any questions affecting individual Class members. The common

 questions include:

        a.      Whether Brinker had a duty to protect Customer Data;

        b.      Whether Brinker knew or should have known of the susceptibility of its POS

                systems to a data breach;

        c.      Whether Brinker’s security measures to protect their POS systems were reasonable

                in light of the PCI DSS requirements, FTC data security recommendations, and best

                practices recommended by data security experts;

        d.      Whether Brinker was negligent in failing to implement reasonable and adequate

                security procedures and practices;

        e.      Whether Brinker’s failure to implement adequate data security measures allowed

                the breach of its POS data systems to occur;

        f.      Whether Brinker’s conduct constituted unfair or deceptive trade practices;

        g.      Whether Brinker’s conduct, including its failure to act, resulted in or was the

                proximate cause of the breach of its systems, resulting in the loss of the Customer

                Data of Plaintiffs and Class members;


                                                 36
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 37 of 71 PageID 2256




        h.      Whether Plaintiffs and Class members were injured and suffered damages or other

                losses because of Brinker’s failure to reasonably protect its POS systems and data

                network; and,

        i.      Whether Plaintiffs and Class members are entitled to relief.

        142.    Typicality. Fed. R. Civ. P. 23(a)(3). Consistent with Rule 23(a)(3), Plaintiffs’

 claims are typical of those of other Class members. Plaintiffs are consumers who used their

 payment cards at affected Chili’s locations and had their cards compromised as a result of the Data

 Breach. Plaintiffs’ damages and injuries are akin to other Class members, and Plaintiffs seek relief

 consistent with the relief of the Class.

        143.    Adequacy. Fed. R. Civ. P. 23(a)(4). Consistent with Rule 23(a)(4), Plaintiffs are

 adequate representatives of the Class because Plaintiffs are members of the Class and are

 committed to pursuing this matter against Brinker to obtain relief for the Class. Plaintiffs have no

 conflicts of interest with the Class. Plaintiffs’ Counsel are competent and experienced in litigating

 class actions, including privacy litigation. Plaintiffs intend to vigorously prosecute this case and

 will fairly and adequately protect the Class’s interests.

        144.    Superiority. Fed. R. Civ. P. 23(b)(3). Consistent with Rule 23(b)(3), a class action

 is superior to any other available means for the fair and efficient adjudication of this controversy,

 and no unusual difficulties are likely to be encountered in the management of this class action. The

 quintessential purpose of the class action mechanism is to permit litigation against wrongdoers even

 when damages to individual plaintiffs may not be sufficient to justify individual litigation. Here,

 the damages suffered by Plaintiffs and the Class are relatively small compared to the burden and

 expense required to individually litigate their claims against Brinker, and thus, individual litigation


                                                   37
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 38 of 71 PageID 2257




 to redress Brinker’s wrongful conduct would be impracticable. Individual litigation by each Class

 member would also strain the court system. Individual litigation creates the potential for

 inconsistent or contradictory judgments and increases the delay and expense to all parties and the

 court system. By contrast, the class action device presents far fewer management difficulties and

 provides the benefits of a single adjudication, economies of scale, and comprehensive supervision

 by a single court.

        145.    Injunctive and Declaratory Relief. Class certification is also appropriate under

 Rule 23(b)(2) and (c). Defendant, through its uniform conduct, acted or refused to act on grounds

 generally applicable to the Class as a whole, making injunctive and declaratory relief appropriate

 to the Class as a whole.

        146.    Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

 because such claims present only particular, common issues, the resolution of which would

 advance the disposition of this matter and the parties’ interests therein. Such particular issues

 include, but are not limited to:

        a.      Whether Brinker failed to timely notify the public of the Breach;

        b.      Whether Brinker owed a legal duty to Plaintiffs and the Class to exercise due care

                in collecting, storing, and safeguarding their Customer Data;

        c.      Whether Brinker’s security measures to protect its POS systems were reasonable in

                light of the PCI DSS requirements, FTC data security recommendations, and other

                best practices recommended by data security experts;

        d.      Whether Brinker’s failure to adequately comply with PCI DSS standards and/or to

                institute protective measures beyond PCI DSS standards amounted to negligence;


                                                 38
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 39 of 71 PageID 2258




        e.      Whether Brinker failed to take commercially reasonable steps to safeguard the

                Customer Data of Plaintiffs and the Class members; and

        f.      Whether adherence to PCI DSS requirements, FTC data security recommendations,

                and measures recommended by data security experts would have reasonably

                prevented the Data Breach.

        147.    Finally, all members of the proposed Classes are readily ascertainable. Brinker has

 access to information regarding which of its restaurants were affected by the Data Breach, the time

 period of the Data Breach, and which customers were potentially affected. Using this information,

 Class members can be identified and their contact information ascertained for the purpose of

 providing notice to the Class.



                                COUNT I
                    BREACH OF IMPLIED CONTRACT
                     (ON BEHALF OF PLAINTIFFS AND
      THE NATIONWIDE CLASS, OR, ALTERNATIVELY, PLAINTIFFS AND THE
                    SEPARATE STATEWIDE CLASSES)

        148.    Plaintiffs restate and reallege Paragraphs 1 through 147 as if fully set forth herein.

        149.    Brinker solicited and invited Plaintiffs and Class members to eat at its restaurants

 and make purchases using their credit or debit cards as a form of payment. Plaintiffs and Class

 members accepted Brinker’s offers and used their credit or debit cards to make purchases at Chili’s

 restaurants during the period of the Data Breach.

        150.    When Plaintiffs and Class members purchased and paid for Brinker’s services and

 food products at Chili’s using payment cards, they provided their Customer Data, including but not

 limited to the PII and PCD contained on the face of, and embedded in the magnetic strip of, their


                                                 39
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 40 of 71 PageID 2259




 debit and credit cards. In so doing, Plaintiffs, Class members and Brinker entered into mutually

 agreed-upon implied contracts pursuant to which Plaintiffs and Class members agreed that their

 payment cards were valid and would provide compensation for their purchases, while Brinker

 agreed that it would use the Customer Data of Plaintiffs and Class members in its possession for

 only the agreed-upon payment and no other purpose.

         151.    Implicit in the agreement by Brinker to use the Customer Data in its possession for

 only the agreed-upon payment and no other purpose was the obligation that Brinker would use

 reasonable measures to safeguard and protect the Customer Data of Plaintiffs and Class members

 in its possession.

         152.    By accepting payment cards as methods of payment for purchases, Brinker assented

 to and confirmed its agreement to reasonably safeguard and protect the Customer Data of Plaintiffs

 and Class members from unauthorized disclosure or uses and to timely and accurately notify

 Plaintiffs and Class members if their data had been breached and/or compromised.

         153.    Plaintiffs and Class members would not have provided and entrusted their Customer

 Data, including all information contained in the magnetic strips of their credit and debit cards, to

 Brinker to eat at its restaurants and make purchases in the absence of the implied contract between

 them and Brinker.

         154.    Plaintiffs and Class members fully performed their obligations under the implied

 contracts with Brinker.

         155.    Brinker breached the implied contracts it made with Plaintiffs and Class members

 by failing to safeguard and protect the PII and PCD of Plaintiffs and Class members and by failing




                                                 40
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 41 of 71 PageID 2260




 to provide timely and accurate notice to them that their Customer Data was compromised as a result

 of the Data Breach.

        156.    Brinker breached the implied contracts it made with Plaintiffs and Class members

 by failing to ensure that the Customer Data of Plaintiffs and Class members in its possession was

 used only for the agreed-upon payment for purchases and no other purpose.

        157.    Plaintiffs and Class members conferred a monetary benefit on Brinker. Specifically,

 they purchased goods and services from Brinker and provided Brinker with their payment

 information. In exchange, Plaintiffs and Class members should have received the goods and

 services that were the subject of the transaction and should have been entitled to have Brinker

 protect their Customer Data with adequate data security.

        158.    Brinker knew that Plaintiffs and Class members conferred a benefit on Brinker and

 has accepted or retained that benefit. Brinker profited from the purchases and used the Customer

 Data of Plaintiffs and Class members for business purposes.

        159.    Brinker failed to secure the Customer Data of Plaintiffs and Class members and,

 therefore, did not provide full consideration for the benefit the Plaintiffs and Class members

 provided.

        160.    Brinker acquired the Customer Data through inequitable means it failed to disclose

 the inadequate security practices previously alleged.

        161.    If Plaintiffs and Class members had known that Brinker would employ inadequate

 security measures to safeguard Customer Data, they would not have made purchases at Brinker.




                                                 41
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 42 of 71 PageID 2261




        162.    As a direct and proximate result of Brinker’s breaches of the implied contracts

 between Brinker and Plaintiffs and Class members, Plaintiffs and Class members sustained actual

 losses and damages as described in detail above.

        163.    Plaintiffs and Class members were harmed as the result of Brinker’s breach of the

 implied contracts because their Customer Data was compromised, placing them at a greater risk of

 identity theft and subjecting them to identity theft, and their Customer Data was disclosed to third

 parties without their consent. Plaintiffs and Class members also suffered diminution in value of

 their PII in that it is now easily available to hackers on the dark web. Plaintiffs and the Class have

 also suffered consequential out-of-pocket losses for procuring credit freeze or protection services,

 identity theft monitoring, late fees, bank fees, and other expenses relating to identity theft losses or

 protective measures. The Class members are further damaged as their PII remains in the hands of

 those who obtained it without their consent.

        164.    This breach of implied contracts was a direct and legal cause of the injuries and

 damages to Plaintiffs and Class members as described above.


                                COUNT II
                             NEGLIGENCE
                     (ON BEHALF OF PLAINTIFFS AND
      THE NATIONWIDE CLASS, OR, ALTERNATIVELY, PLAINTIFFS AND THE
                    SEPARATE STATEWIDE CLASSES)

        165.    Plaintiffs restate and reallege Paragraphs 1 through 147 as if fully set forth herein.

        166.    Upon accepting and storing the Customer Data of Plaintiffs and Class members in

 its computer systems and on its networks, Brinker undertook and owed a duty to Plaintiffs and

 Class members to exercise reasonable care to secure and safeguard that information and to use



                                                   42
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 43 of 71 PageID 2262




 commercially reasonable methods to do so. Brinker knew that the Customer Data was private and

 confidential and should be protected as private and confidential.

        167.    Brinker owed a duty of care not to subject Plaintiffs and Class members, along with

 their Customer Data, to an unreasonable risk of harm because they were foreseeable and probable

 victims of any inadequate security practices.

        168.    Brinker owed numerous duties to Plaintiffs and to members of the Nationwide Class,

 including the following:

        a.      to exercise reasonable care in obtaining, retaining, securing, safeguarding, deleting

                and protecting Customer Data in its possession;

        b.      to protect Customer Data using reasonable and adequate security procedures and

                systems that are compliant with industry-standard practices; and

        c.      to implement processes to quickly detect a data breach and to timely act on warnings

                about data breaches.

        169.    Brinker also breached its duty to Plaintiffs and the Class members to adequately

 protect and safeguard Customer Data by knowingly disregarding standard information security

 principles, despite obvious risks, and by allowing unmonitored and unrestricted access to

 unsecured Customer Data. Furthering their dilatory practices, Brinker failed to provide adequate

 supervision and oversight of the Customer Data with which they were and are entrusted, despite

 the known risk and foreseeable likelihood of breach and misuse, which permitted an unknown

 third party to gather Customer Data of Plaintiffs and Class members, misuse the Customer Data,

 and intentionally disclose it to others without consent.




                                                  43
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 44 of 71 PageID 2263




        170.    Brinker knew, or should have known, of the risks inherent in collecting and storing

 Customer Data, the vulnerabilities of POS systems, and the importance of adequate security.

 Brinker knew about numerous, well-publicized data breaches within the restaurant industry.

        171.    Brinker knew, or should have known, that its data systems and networks did not

 adequately safeguard Plaintiffs’ and Class members’ Customer Data.

        172.    Brinker breached its duties to Plaintiffs and Class Members by failing to provide

 fair, reasonable, or adequate computer systems and data security practices to safeguard Plaintiffs’

 and Class members’ Customer Data.

        173.    Because Brinker knew that a breach of its systems would damage hundreds of

 thousands, if not millions, of Brinker customers, including Plaintiffs and Class members, Brinker

 had a duty to adequately protect its data systems and the Customer Data contained thereon.

        174.    Brinker had a special relationship with Plaintiffs and Class members. Plaintiffs’ and

 Class members’ willingness to entrust Brinker with their Customer Data was predicated on the

 understanding that Brinker would take adequate security precautions to safeguard that information.

 Moreover, only Brinker had the ability to protect its systems and the Customer Data stored on those

 systems from attack.

        175.    Brinker’s own conduct also created a foreseeable risk of harm to Plaintiffs and Class

 members and their Customer Data. Brinker’s misconduct included failing to: (1) secure its POS

 systems, despite knowing their vulnerabilities, (2) comply with industry standard security practices,

 (3) implement adequate system and event monitoring, and (4) implement the systems, policies, and

 procedures necessary to prevent this type of data breach.




                                                  44
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 45 of 71 PageID 2264




        176.    Brinker also had independent duties under state and federal laws that required

 Brinker to reasonably safeguard Plaintiffs’ and Class members’ Customer Data and promptly notify

 them about the Data Breach.

        177.    Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce,”

 including, as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as

 Brinker, of failing to use reasonable measures to protect Customer Data. The FTC publications and

 orders described above also form part of the basis of Brinker’s duty in this regard.

        178.    Brinker violated Section 5 of the FTC Act by failing to use reasonable measures to

 protect Customer Data and not complying with applicable industry standards, as described in detail

 herein. Brinker’s conduct was particularly unreasonable given the nature and amount of Customer

 Data it obtained and stored, and the foreseeable consequences of a data breach at a restaurant chain

 as large as Chili’s, including, specifically, the immense damages that would result to Plaintiffs and

 Class members.

        179.    Plaintiffs and Class members are within the class of persons that the FTC Act was

 intended to protect.

        180.    The harm that occurred as a result of the Data Breach is the type of harm the FTC

 Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

 which, as a result of their failure to employ reasonable data security measures and avoid unfair and

 deceptive practices, caused the same harm as that suffered by Plaintiffs and the Class.

        181.    Brinker’s violation of Section 5 of the FTC Act is evidence of negligence.




                                                  45
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 46 of 71 PageID 2265




        182.    According to Brinker, the Customer Data stolen in the Data Breach included, at a

 minimum, name, account number, expiration date, CVV/CSC/CAV/CVC authorization codes, and

 PIN verification data.

        183.    Storage of CVV/CSC/CAV/CVC authorization codes and PIN verification data post

 authorization of a transaction is not permitted under PCI DSS.

        184.    That CVV/CSC/CAV/CVC authorization codes and PIN verification data were part

 of the Customer Data stolen in the Data Breach indicates that Brinker maintains and stores

 Customer Data in violation of PCI DSS.

        185.    Brinker’s violation of PCI DSS is evidence of negligence.

        186.    Brinker breached its duties to Plaintiffs and Class members in numerous ways,

 including:

        a.      by failing to provide fair, reasonable, or adequate computer systems and data

                security practices to safeguard Plaintiffs’ and Class members’ Customer Data;

        b.      by creating a foreseeable risk of harm through the misconduct previously described;

        c.      by failing to implement adequate security systems, protocols, and practices

                sufficient to protect Plaintiffs’ and Class members’ Customer Data before and after

                learning of the Data Breach;

        d.      by failing to comply with industry standard data security standards during the period

                of the Data Breach; and

        e.      by failing to timely and accurately disclose that Plaintiffs’ and Class members’

                Customer Data had been improperly acquired or accessed.




                                                 46
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 47 of 71 PageID 2266




        187.    Through Brinker’s acts and omissions described in this Complaint, including

 Brinker’s failure to provide adequate security and its failure to protect Customer Data of Plaintiffs

 and Class members from being foreseeably captured, accessed, disseminated, stolen and misused,

 Brinker unlawfully breached its duty to use reasonable care to adequately protect and secure

 Plaintiffs’ and Class members’ Customer Data while it was within Brinker’s possession or control.

        188.    The law further imposes an affirmative duty on Brinker to timely disclose the

 unauthorized access and theft of the Customer Data to Plaintiffs and the Class so that Plaintiffs and

 Class members can take appropriate measures to mitigate damages, protect against adverse

 consequences, and thwart future misuse of their Customer Data.

        189.    Brinker breached its duty to notify Plaintiffs and Class Members of the

 unauthorized access to their Customer Data by waiting to notify Plaintiffs and Class members and

 then by failing to provide Plaintiffs and Class members sufficient information regarding the

 breach. To date, Brinker has not provided sufficient information to Plaintiffs and Class members

 regarding the extent of the unauthorized access and continues to breach its disclosure obligations

 to Plaintiffs and the Class.

        190.    Through Brinker’s acts and omissions described in this Complaint, including

 Brinker’s failure to provide adequate security and its failure to protect the Customer Data of

 Plaintiffs and Class members from being foreseeably captured, accessed, disseminated, stolen and

 misused, Brinker unlawfully breached its duty to use reasonable care to adequately protect and

 secure the Customer Data of Plaintiffs and Class members while it was within Brinker’s possession

 or control.




                                                  47
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 48 of 71 PageID 2267




        191.    Further, through its failure to provide timely and clear notification of the Data

 Breach to consumers, Brinker prevented Plaintiffs and Class members from taking meaningful,

 proactive steps to secure their financial data and bank accounts.

        192.    Upon information and belief, Brinker improperly and inadequately safeguarded

 Plaintiffs’ and Class members’ Customer Data in deviation of standard industry rules, regulations,

 and practices at the time of the unauthorized access. Brinker’s failure to take proper security

 measures to protect sensitive Customer Data as described in this Complaint, created conditions

 conducive to a foreseeable, intentional criminal act, namely the unauthorized access of Plaintiffs’

 and Class members’ Customer Data.

        193.    Brinker’s conduct was grossly negligent and departed from all reasonable standards

 of care, including, but not limited to: failing to adequately protect the Customer Data; failing to

 conduct regular security audits; failing to provide adequate and appropriate supervision of persons

 having access to Customer Data of Plaintiffs and Class members; and failing to provide Plaintiff

 and Class members with timely and sufficient notice that their sensitive Customer Data had been

 compromised.

        194.    Neither Plaintiffs nor the other Class members contributed to the Data Breach and

 subsequent misuse of their Customer Data as described in this Complaint.

        195.    As a direct and proximate cause of Brinker’s conduct, Plaintiffs and the Class

 suffered damages including, but not limited to: damages arising from the unauthorized charges on

 their debit or credit cards or on cards that were fraudulently obtained through the use of their

 Customer Data; damages arising from Plaintiffs’ and Class members’ inability to use their debit

 or credit cards because those cards were cancelled, suspended, or otherwise rendered unusable as


                                                 48
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 49 of 71 PageID 2268




 a result of the Data Breach and/or false or fraudulent charges stemming from the Data Breach,

 including but not limited to late fees charged and foregone cash back rewards; damages from lost

 time and effort to mitigate the actual and potential impact of the Data Breach on their lives

 including, inter alia, by placing “freezes” and “alerts” with credit reporting agencies, contacting

 their financial institutions, closing or modifying financial accounts, closely reviewing and

 monitoring their credit reports and accounts for unauthorized activity, and filing police reports,

 and damages from identity theft, which may take months if not years to discover and detect, given

 the far-reaching, adverse and detrimental consequences of identity theft and loss of privacy. The

 nature of other forms of economic damage and injury may take years to detect, and the potential

 scope can only be assessed after a thorough investigation of the facts and events surrounding the

 theft mentioned above.



                                COUNT III
                       DECLARATORY JUDGMENT
                     (ON BEHALF OF PLAINTIFFS AND
      THE NATIONWIDE CLASS, OR, ALTERNATIVELY, PLAINTIFFS AND THE
                    SEPARATE STATEWIDE CLASSES)


        196.    Plaintiffs restate and reallege Paragraphs 1 through 147 as if fully set forth here.

        197.    Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

 authorized to enter a judgment declaring the rights and legal relations of the parties and grant further

 necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here, that are

 tortious and violate the terms of the federal and state statutes described in this Complaint.

        198.    An actual controversy has arisen in the wake of the Data Breach regarding its present

 and prospective common law and other duties to reasonably safeguard its customers’ Customer

                                                   49
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 50 of 71 PageID 2269




 Data and whether Defendants are currently maintaining data security measures adequate to protect

 Plaintiffs and Class members from further data breaches that compromise their Customer Data.

 Plaintiffs remain at imminent risk that further compromises of their Customer Data will occur in

 the future.

         199.   The Court also should issue prospective injunctive relief requiring Defendants to

 employ adequate security practices consistent with law and industry standards to protect

 consumers’ Customer Data.

         200.   According to Brinker, the Customer Data stolen in the Data Breach included, at a

 minimum, name, account number, expiration date, CVV/CSC/CAV/CVC authorization codes, and

 PIN verification data.

         201.   Storage of CVV/CSC/CAV/CVC authorization codes and PIN verification data post

 authorization of a transaction is not permitted under PCI-DSS.

         202.   That CVV/CSC/CAV/CVC authorization codes and PIN verification data were part

 of the Customer Data stolen in the Data Breach indicates that Brinker maintains and stores

 Customer Data in its data systems for a period longer than a reasonable person would expect and

 longer than industry regulations allow.

         203.   Brinker still possesses Customer Data pertaining to Plaintiffs and Class members.

         204.   Brinker has made no announcement or notification that it has changed its storage

 polices for Customer Data.

         205.   Brinker has made no announcement or notification that it has remedied the

 vulnerabilities in its computer data systems, and, most importantly, its POS systems.




                                                 50
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 51 of 71 PageID 2270




        206.    Now that Brinker’s lax approach towards data security has become public, the

 Customer Data in its possession is more vulnerable than before.

        207.    The replacement of a payment card compromised in the Data Breach does not

 alleviate the harm that may come to Plaintiffs and Class Members as their Customer Data remains

 on Brinker’s systems.

        208.    As alleged herein above, even though payment card may be expired or replaced, a

 hacker or scammer may be able to use an expired or replaced payment card account stolen in a data

 breach to conduct transactions long after the breach. Further, if a hacker or scammer has used a

 stolen payment card to open a merchant account using the cardholder’s name, the card information

 in the fraudulent account may be updated automatically when the card is reissued after a data breach,

 given agreements between some merchants and payment card processors.

        209.    If an injunction is not issued, Plaintiffs and Class members will suffer irreparable

 injury, and lack an adequate legal remedy, in the event of another data breach at Brinker. The risk

 of another such breach is real, immediate, and substantial. If another breach occurs, Plaintiffs and

 Class members will not have an adequate remedy at law because many of the resulting injuries are

 not readily quantified and they will be forced to bring multiple lawsuits to rectify the same conduct.

        210.    The hardship to Plaintiffs and Class members if an injunction does not issue exceeds

 the hardship to Defendant if an injunction is issued. Among other things, if another data breach

 occurs at Brinker, Plaintiffs and Class members will likely be subjected to fraud, identify theft, and

 other harms described herein. On the other hand, the cost to Defendant of complying with an

 injunction by employing reasonable prospective data security measures is relatively minimal, and

 Defendant has a pre-existing legal obligation to employ such measures.


                                                  51
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 52 of 71 PageID 2271




        211.    Issuance of the requested injunction will not disserve the public interest. To the

 contrary, such an injunction would benefit the public by preventing another data breach at Brinker,

 thus eliminating the additional injuries that would result to Plaintiffs and other consumers whose

 Customer Data would be further compromised

        212.    Pursuant to its authority under the Declaratory Judgment Act, this Court should enter

 a judgment declaring that Brinker must implement and maintain reasonable security measures,

 including, but not limited to:

        a.      engaging third-party security auditors/penetration testers as well as internal security

                personnel to conduct testing, including simulated attacks, penetration tests, and

                audits on Brinker’s systems on a periodic basis, and ordering Brinker to promptly

                correct any problems or issues detected by such third-party security auditors;

        b.      engaging third-party security auditors and internal personnel to run automated

                security monitoring;

        c.      auditing, testing, and training its security personnel regarding any new or modified

                procedures;

        d.      segmenting customer data by, among other things, creating firewalls and access

                controls so that if one area of Brinker is compromised, hackers cannot gain access

                to other portions of Brinker systems;

        e.      purging, deleting, and destroying Customer Data not necessary for its provisions of

                services in a reasonably secure manner;

        f.      conducting regular database scans and security checks;




                                                  52
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 53 of 71 PageID 2272




        g.      routinely and continually conducting internal training and education to inform

                internal security personnel how to identify and contain a breach when it occurs and

                what to do in response to a breach; and

        h.      educating its customers about the threats they face as a result of the loss of their

                financial and personal information to third parties, as well as the steps Brinker

                customers should take to protect themselves.


                               COUNT IV
     VIOLATIONS OF THE OF THE FLORIDA UNFAIR AND DECEPTIVE TRADE
                PRACTICES ACT, FLA. STAT. §§ 501.201, et seq.
             (ON BEHALF OF THE FLORIDA STATEWIDE CLASS)


        213.    Plaintiff Green-Cooper (“Florida Plaintiff”), individually and on behalf of the other

 Florida Class members, restates and realleges Paragraphs 1 through 147 as if fully set forth here.

        214.    Florida Plaintiff and Florida Class members are consumers who used their credit or

 debit cards to purchase food and drink products and services at Chili’s restaurants. These purchases

 were made primarily for personal, family, or household purposes.

        215.    Brinker engaged in the conduct alleged in this Complaint, entering into transactions

 intended to result, and which did result, in the sale of food and drink products to consumers,

 including Florida Plaintiff and Florida Class members.

        216.    Brinker engaged in, and its acts and omissions affect, trade and commerce.

 Brinker’s acts, practices, and omissions were done in the course of Brinker’s business of marketing,

 offering to sell, and selling food and drink products and services throughout the United States.




                                                 53
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 54 of 71 PageID 2273




        217.    Brinker, operating in Florida, engaged in deceptive, unfair, and unlawful trade acts

 or practices in the conduct of trade or commerce, in violation of Fla. Stat. § 501.204(1), including

 but not limited to the following:

        a.      failure to maintain adequate computer systems and data security practices to

                safeguard Customer Data;

        b.      failure to disclose that its computer systems and data security practices were

                inadequate to safeguard Customer Data from theft;

        c.      failure to timely and accurately disclose the Data Breach to Florida Plaintiff and

                Florida Class members;

        d.      continued acceptance of credit and debit card payments and storage of other

                personal information after Brinker knew or should have known of the security

                vulnerabilities of its POS systems that were exploited in the Data Breach; and

        e.      continued acceptance of credit and debit card payments and storage of other

                personal information after Brinker knew or should have known of the Data Breach

                and before it allegedly remediated the Data Breach.

        218.    These unfair acts and practices violated duties imposed by laws, including by not

 limited to the FTCA and Fla. Stat. § 501.171(2).

        219.    Florida Plaintiff and the Florida Class are “aggrieved” persons as that term is defined

 in Fla. Stat. § 501.211(1), in that, as a direct and proximate result of Brinker’s violation of the

 Florida Unfair and Deceptive Trade Practices Act, Florida Plaintiff and Florida Class members had

 their Customer Data taken by unauthorized third parties, and suffered damages including, but not

 limited to: damages arising from the unauthorized charges on their debit or credit cards or on cards


                                                  54
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 55 of 71 PageID 2274




 that were fraudulently obtained through the use of the Customer Data of Florida Plaintiff and

 Florida Class members; damages arising from Florida Plaintiff’s and Florida Class members’

 inability to use their debit or credit cards because those cards were cancelled, suspended, or

 otherwise rendered unusable as a result of the Data Breach and/or false or fraudulent charges

 stemming from the Data Breach, including but not limited to late fees charged and foregone cash

 back rewards; damages from lost time and effort to mitigate the actual and potential impact of the

 Data Breach on their lives including, inter alia, by placing “freezes” and “alerts” with credit

 reporting agencies, contacting their financial institutions, closing or modifying financial accounts,

 closely reviewing and monitoring their credit reports and accounts for unauthorized activity, and

 filing police reports, and damages from identity theft, which may take months if not years to

 discover and detect, given the far-reaching, adverse and detrimental consequences of identity theft

 and loss of privacy. The nature of other forms of economic damage and injury may take years to

 detect, and the potential scope can only be assessed after a thorough investigation of the facts and

 events surrounding the theft mentioned above.

           220.   As a direct result of Brinker’s knowing violation of the Florida Unfair and Deceptive

 Trade Practices Act, Florida Plaintiff and Florida Class members are entitled to a declaration that

 (a) Brinker’s existing data security measures do not comply with the requirements imposed upon it

 by law, and (b) in order to comply with its legal obligations and duties of care, Brinker must

 implement and maintain reasonable security measures, including but not limited to, injunctive

 relief:

           a.     Ordering that Brinker engage third-party security auditors/penetration testers as well

                  as internal security personnel to conduct testing, including simulated attacks,


                                                   55
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 56 of 71 PageID 2275




               penetration tests, and audits on Brinker’s systems on a periodic basis, and ordering

               Brinker to promptly correct any problems or issues detected by such third-party

               security auditors;

        b.     Ordering that Brinker engage third-party security auditors and internal personnel to

               run automated security monitoring;

        c.     Ordering that Brinker audit, test, and train its security personnel regarding any new

               or modified procedures;

        d.     Ordering that Brinker segment customer data by, among other things, creating

               firewalls and access controls so that if one area of Brinker is compromised, hackers

               cannot gain access to other portions of Brinker systems;

        e.     Ordering that Brinker purge, delete, and destroy Customer Data not necessary for

               its provisions of services in a reasonably secure manner;

        f.     Ordering that Brinker conduct regular database scans and security checks;

        g.     Ordering that Brinker routinely and continually conduct internal training and

               education to inform internal security personnel how to identify and contain a

               breach when it occurs and what to do in response to a breach; and

        h.     Ordering Brinker to meaningfully educate its customers about the threats they face

               as a result of the loss of their financial and personal information to third parties, as

               well as the steps Brinker customers should take to protect themselves.

        221.   Florida Plaintiff brings this action on behalf of herself and Florida Class members

 for the injunctive and declaratory relief requested above and for the public benefit in order to

 promote the public interests in the provision of truthful, fair information to allow consumers to


                                                  56
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 57 of 71 PageID 2276




 make informed purchasing decisions and to protect Florida Plaintiff, Florida Class members and

 the public from Brinker’s unfair methods of competition and unfair, deceptive, fraudulent,

 unconscionable and unlawful practices. Brinker’s wrongful conduct as alleged in this Complaint

 has had widespread impact on the public at large.

        222.    The above unfair and deceptive practices and acts by Brinker were immoral,

 unethical, oppressive, and unscrupulous. These acts caused substantial injury to Florida Plaintiff

 and Florida Class members that they could not reasonably avoid; this substantial injury outweighed

 any benefits to consumers or to competition.

        223.     Brinker knew or should have known that its computer systems and data security

 practices were inadequate to safeguard Florida Class members’ Customer Data and that the risk of

 a data breach or theft was high.

        224.    Brinker’s actions and inactions in engaging in the unfair practices and deceptive acts

 described herein were negligent, knowing and willful, and/or wanton and reckless.

        225.    Florida Plaintiff and Florida Class members seek relief under the Florida Deceptive

 and Unfair Trade Practices Act, Fla. Stat. §§ 501.201, et seq, for injunctive and declaratory relief,

 and/or attorney fees and costs, and any other just and proper relief.

                                             COUNT V

        VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW (“UCL”)
        CAL. BUS. & PROF. CODE §17200 – UNLAWFUL BUSINESS PRACTICES
                    (ON BEHALF OF THE CALIFORNIA CLASS)

        226.    Plaintiff Michael Franklin, individually and on behalf of the other California Class

 members, (“California Plaintiff”), restates and realleges Paragraphs 1 through 147 as if fully set

 forth here.


                                                  57
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 58 of 71 PageID 2277




         227.   Brinker has violated Cal. Bus. and Prof. Code §17200 et seq. by engaging in

 unlawful, unfair or fraudulent business acts and practices and unfair, deceptive, untrue or

 misleading advertising that constitute acts of “unfair competition” as defined in Cal. Bus. Prof.

 Code §17200 with respect to the credit card payment services provided to the California Class.

         228.   Brinker engaged in unlawful acts and practices with respect to the payment card

 payment services by establishing the sub-standard security practices and procedures described

 herein; by soliciting and collecting California Plaintiff’s and California Class members’ “Personal

 Information,” as defined in Cal. Civ. Code § 1798.81.5, with knowledge that the information would

 not be adequately protected; and by storing California Plaintiff’s and California Class members’

 Personal Information in an unsecure electronic environment in violation of California’s data breach

 statute, Cal. Civ. Code § 1798.81.5, which requires that Brinker take reasonable methods of

 safeguarding the Personal Information of California Plaintiff and the California Class Members.

         229.   By using their payment cards as methods of payment, which Brinker accepted,

 California Plaintiff and California Class Members entrusted Brinker with their private Customer

 Data.

         230.   Brinker stored the Customer Data of the California Plaintiff and California Class

 members in Brinker’s electronic and consumer information databases. Brinker knew or should have

 known they did not employ reasonable, industry standard, and appropriate security measures that

 complied “with federal regulations,” which would have kept the Customer Data of the California

 Plaintiff and California Class members secure and prevented the loss or misuse of the Customer

 Data. Brinker became aware of breaches of its systems’ security on or about April 19, 2018,

 including, but not limited to, the presence of malware on various internal systems as well as


                                                 58
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 59 of 71 PageID 2278




 malicious hacking behavior. Brinker did not disclose to the California Plaintiff and California Class

 members that its data systems were not secure until after the card data was sold on JokerStash on

 May 11, 2018.

         231.    California Plaintiff and California Class members were entitled to assume, and did

 assume, that Brinker would take appropriate measures to keep their Customer Data safe. Brinker

 was in sole possession of and had a duty to disclose the material information that Customer Data

 was vulnerable to hackers because Brinker’s security measures were inadequate. Brinker did not

 disclose at any time that Customer Data was vulnerable to hackers.

         232.    Brinker violated the UCL by misrepresenting, both by affirmative conduct and by

 omission, the safety of its many systems and services, specifically the security thereof, and its ability

 to safely store the Customer Data of the California Plaintiff and California Class members. Brinker

 also violated the UCL by failing to implement reasonable and appropriate security measures or

 follow industry standards for data security, and by failing to immediately notify California Plaintiff

 and California Class members that its systems had been breached and were insecure. If Brinker had

 complied with these legal requirements, California Plaintiffs and California Class members would

 not have suffered the damages related to the Data Breach.

         233.    In addition, Brinker engaged in unlawful acts and practices with respect to payment

 card payment services by failing to disclose the security breaches of its systems to the California

 Plaintiff and California Class members in a timely and accurate manner, contrary to the duties

 imposed by Cal. Civ. Code § 1798.82. Aware that its systems’ security was breached as of April

 19, 2018, Brinker did not provide any notice of a breach until May 12, 2018. This delay in providing

 notice was unreasonable and resulted in card data being sold and fraudulently used after the breach.


                                                    59
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 60 of 71 PageID 2279




 Had the California Plaintiff and California Class members been provided reasonable notice that

 Brinker’s systems had been breached and their card data potentially exposed, the California Plaintiff

 and California Class members could have engaged in mitigation efforts, including, but not limited

 to, obtaining replacement cards and obtaining credit monitoring services prior to experiencing

 fraudulent use of their credit and debit card information. The California Plaintiff would not have

 dined at Chili’s and made purchases had Brinker provided notice that its systems had been breached

 within a reasonable time.

        234.    Furthermore, as alleged above, Brinker’s failure to secure consumers’ Customer

 Data violates the FTCA and therefore violates the UCL.

        235.    Because Brinker accepted credit and debit cards as methods of payment, California

 Plaintiff and California Class members relied on Brinker to advise customers if its POS and data

 systems were not secure and, thus, Customer Data could be compromised.

        236.    Brinker did not afford California Plaintiff and California Class members equal or

 ample opportunity to make any inspection to determine Brinker’s data security or to otherwise

 ascertain the truthfulness of Brinker’s direct and indirect representations regarding data security,

 including its failure to alert customers that its POS and data systems were not secure and, thus, were

 vulnerable to attack.

        237.    In deciding to use their payment cards for their purchases at Brinker, California

 Plaintiff and California Class members relied on Brinker’s direct and indirect representations

 regarding data security, including Brinker’s failure to alert customers that its POS and data systems

 were not secure and, thus, were vulnerable to attack.




                                                  60
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 61 of 71 PageID 2280




        238.    Had Brinker disclosed to California Plaintiff and California Class members that its

 POS and data systems were not secure and, thus, vulnerable to attack, California Plaintiff and

 California Class members would not have used their payment cards at Brinker restaurants or may

 not have made purchases at all.

        239.    California Plaintiff and California Class members would not have given their

 Customer Data to Brinker if Brinker had disclosed the security issues.

        240.    As a direct result of their reliance upon Brinker to be truthful in its disclosures and

 non-disclosures regarding the vulnerability of its POS and data systems, California Plaintiff and

 California Class members used their payment cards to make purchases at Brinker during the Data

 Breach period and after Brinker knew that its systems had been breached by malware and were

 experiencing malicious hacking behavior. As a result, Customer Data was compromised, causing

 the California Plaintiff and California Class members to suffer damages.

        241.    As a direct result of Brinker’s refusal to disclose that its data systems were not

 secure, California Plaintiff and California Class members:

                     a. surrendered more in their transactions than they otherwise would have;

                     b. entered into transactions costing money or property that they otherwise

                         would not have entered into;

                     c. had the value of their Customer Data diminished; and

                     d. had their Customer Data compromised, causing losses and damages, and

                         were thereby deprived of money and property

        242.    As a direct and proximate result of Brinker’s violation of the UCL, the California

 Plaintiff and California Class members suffered damages including, but not limited to: diminution


                                                  61
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 62 of 71 PageID 2281




 of their Customer Data, damages arising from the unauthorized charges on their debit or credit cards

 or on cards that were fraudulently obtained through the use of the Customer Data of the California

 Plaintiff and California Class members; damages arising from the inability to use their debit or

 credit cards because those cards were cancelled, suspended, or otherwise rendered unusable as a

 result of the Data Breach and/or false or fraudulent charges stemming from the Data Breach,

 including but not limited to late fees charged and foregone cash back rewards; damages from lost

 time and effort to mitigate the actual and potential impact of the Data Breach on their lives

 including, inter alia, by placing “freezes” and “alerts” with credit reporting agencies, contacting

 their financial institutions, closing or modifying financial accounts, closely reviewing and

 monitoring their credit reports and accounts for unauthorized activity, and filing police reports, and

 damages from identity theft, which may take months if not years to discover and detect, given the

 far-reaching, adverse and detrimental consequences of identity theft and loss of privacy. In addition,

 their Customer Data was taken and is in the hands of those who will use it for their own advantage,

 or is being sold for value, making it clear that the hacked information is of tangible value. The

 nature of other forms of economic damage and injury may take years to detect, and the potential

 scope can only be assessed after a thorough investigation of the facts and events surrounding the

 theft mentioned above.

        243.    As a direct and proximate result of Brinker’s unlawful practices and acts, the

 California Plaintiff and California Class members were injured and lost money or property,

 including but not limited to the price received by Brinker for its products and services, the loss of

 their legally protected interest in the confidentiality and privacy of their Personal Information, and

 additional losses described above.


                                                  62
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 63 of 71 PageID 2282




        244.    Brinker knew or should have known that its computer systems and data security

 practices were inadequate to safeguard California Plaintiff’s and California Class members’

 Personal Information and that the risk of a data breach or theft was highly likely. Brinker’s actions

 in engaging in the above-named unlawful practices and acts were negligent, knowing and willful,

 and/or wanton and reckless with respect to the rights of members of the California Class.

        245.    The California Plaintiff and California Class members seek relief under Cal. Bus. &

 Prof. Code § 17200, et. seq., including, but not limited to, restitution to California Plaintiff and

 California Class members of money or property that Brinker may have acquired by means of its

 unlawful, and unfair business practices, disgorgement of all profits accruing to Brinker because of

 its unlawful and unfair business practices as restitution, declaratory relief, attorney’s fees and costs

 (pursuant to Cal. Code Civ. Proc. §1021.5), and injunctive or other equitable relief.


                                              COUNT VI

        VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW (“UCL”)
          CAL. BUS. & PROF. CODE §17200 – UNFAIR BUSINESS PRACTICES
                    (ON BEHALF OF THE CALIFORNIA CLASS)

        246.    Plaintiff Michael Franklin, individually and on behalf of the other California Class

 members, (“California Plaintiff”), restates and realleges Paragraphs 1 through 147 as if fully set

 forth here.

        247.    Brinker engaged in unfair acts and practices with respect to the payment card

 payment services by establishing the sub-standard security practices and procedures described

 herein; by soliciting and collecting California Plaintiff’s and California Class members’ Personal

 Information with knowledge that the information would not be adequately protected; and by storing

 California Plaintiff’s and California Class members’ Personal Information in an unsecure electronic

                                                   63
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 64 of 71 PageID 2283




 environment. These unfair acts and practices were immoral, unethical, oppressive, unscrupulous,

 unconscionable, and/or substantially injurious to the California Plaintiff and California Class

 members. These unfair acts and practices were also likely to deceive the public into believing their

 Personal Information was securely stored, when it was not. The harm these practices caused to the

 California Plaintiff and the California Class members outweighed their utility, if any.

        248.    Brinker engaged in unfair acts and practices with respect to the provision of payment

 card payment services by failing to take proper action following the Data Breach to enact adequate

 privacy and security measures and protect California Class members’ Personal Information from

 further unauthorized disclosure, release, data breaches, and theft. These unfair acts and practices

 were immoral, unethical, oppressive, unscrupulous, unconscionable, and/or substantially injurious

 to the California Plaintiff and California Class members. These unfair acts and practices were also

 likely to deceive the public into believing their Personal Information was securely stored when it

 was not. The harm these practices caused to the California Plaintiff and the California Class

 members outweighed their utility, if any.

        249.    As a direct and proximate result of Brinker’s unfair practices and acts, the California

 Plaintiff and California Class members were injured and lost money or property, including but not

 limited to the price received by Brinker for its products and services, the loss of their legally

 protected interest in the confidentiality and privacy of their Personal Information, and additional

 losses described above.

        250.    Brinker stored the Customer Data of the California Plaintiff and California Class

 members in Brinker’s electronic and consumer information databases. Brinker knew or should have

 known they did not employ reasonable, industry-standard, and appropriate security measures that


                                                  64
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 65 of 71 PageID 2284




 complied “with federal regulations” and that would have kept the California Plaintiff’s and the

 California Class members’ Customer Data secure and prevented the loss or misuse of the Customer

 Data of the California Plaintiff and the California Class members. Brinker did not disclose to the

 California Plaintiff and the California Class members that its data systems were not secure.

        251.    The California Plaintiff and California Class members were entitled to assume, and

 did assume, Brinker would take appropriate measures to keep their Customer Data safe. Brinker

 was in sole possession of and had a duty to disclose the material information that Customer Data

 was vulnerable to hackers because Brinker’s security measures were inadequate. Brinker did not

 disclose at any time that Customer Data was vulnerable to hackers.

        252.    Brinker knew or should have known that its computer systems and data security

 practices were inadequate to safeguard California Class members’ Personal Information and that

 the risk of a data breach or theft was highly likely. Brinker’s actions in engaging in the above-

 named unlawful practices and acts were negligent, knowing and willful, and/or wanton and reckless

 with respect to the rights of the California Class.

        253.    Because Brinker accepted credit and debit cards as methods of payment, the

 California Plaintiff and the California Class members relied upon Brinker to advise customers if its

 POS and data systems were not secure and that Customer Data could thereby be compromised.

        254.    Brinker did not afford the California Plaintiff and the California Class members

 equal or ample opportunity to make any inspection to determine Brinker’s data security or to

 otherwise ascertain the truthfulness of Brinker’s direct and indirect representations regarding data

 security, including Brinker’s failure to alert customers that its POS and data systems were not secure

 and, thus, were vulnerable to attack.


                                                   65
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 66 of 71 PageID 2285




        255.    In deciding to use their payment cards for their purchases at Brinker, the California

 Plaintiff and the California Class members relied upon Brinker’s direct and indirect representations

 regarding data security, including Brinker’s failure to alert customers that its POS and data systems

 were not secure and, thus, were vulnerable to attack.

        256.    Had Brinker disclosed to the California Plaintiff and the California Class members

 that its POS and data systems were not secure and, thus, vulnerable to attack, the California Plaintiff

 and the California Class members would not have used their payment cards at Brinker restaurants,

 or may not have made purchases at Brinker at all.

        257.    As a direct result of their reliance upon Brinker to be truthful in its disclosures and

 non-disclosures regarding the vulnerability of its POS and data systems, the California Plaintiff and

 the California Class members used their payment cards to make purchases at Brinker during the

 Data Breach period, and their Customer Data was compromised, causing the California Plaintiff

 and the California Class members to suffer damages.

        258.    As a direct and proximate result of Brinker’s violation of the UCL, the California

 Plaintiff and the California Class members suffered damages including, but not limited to: damages

 arising from the unauthorized charges on their debit or credit cards, or on cards that were

 fraudulently obtained through the use of the Customer Data of the California Plaintiff and the

 California Class members; damages arising from their inability to use their debit or credit cards

 because those cards were cancelled, suspended, or otherwise rendered unusable as a result of the

 Data Breach and/or false or fraudulent charges stemming from the Data Breach, including but not

 limited to late fees charged and foregone cash back rewards; damages from lost time and effort to

 mitigate the actual and potential impact of the Data Breach on their lives including, inter alia, by


                                                   66
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 67 of 71 PageID 2286




 placing “freezes” and “alerts” with credit reporting agencies, contacting their financial institutions,

 closing or modifying financial accounts, closely reviewing and monitoring their credit reports and

 accounts for unauthorized activity, and filing police reports, and damages from identity theft, which

 may take months if not years to discover and detect, given the far-reaching, adverse and detrimental

 consequences of identity theft and loss of privacy. The nature of other forms of economic damage

 and injury may take years to detect, and the potential scope can only be assessed after a thorough

 investigation of the facts and events surrounding the theft mentioned above.

        259.     The California Plaintiff and California Class members seek relief under Cal. Bus.

 & Prof. Code § 17200, et. seq., including, but not limited to, restitution to California Plaintiff and

 California Class members of money or property that Brinker may have acquired by means of its

 unfair business practices, disgorgement of all profits accruing to Brinker because of its unfair

 business practices as restitution, declaratory relief, attorney’s fees and costs (pursuant to Cal. Code

 Civ. Proc. §1021.5), and injunctive or other equitable relief.

                                          COUNT VII
                  Violation of California’s Unfair Competition Law (“UCL”)
           Cal. Bus. & Prof. Code §17200 – Fraudulent/Deceptive Business Practices
                               (On Behalf of the California Class)

        260.     Plaintiff Michael Franklin, individually and on behalf of the other California Class

 members, (“California Plaintiff”), restates and realleges Paragraphs 1 through 147 as if fully set

 forth herein.

        261.     Brinker engaged in fraudulent and deceptive acts and practices with regard to the

 payment card payment services provided to the California Class by representing and advertising

 that it would maintain adequate data privacy and security practices and procedures to safeguard

 California Class members’ Personal Information from unauthorized disclosure, release, data

                                                   67
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 68 of 71 PageID 2287




 breaches, and theft; and representing and advertising that it did and would comply with the

 requirements of relevant federal and state laws pertaining to the privacy and security of California

 Class members’ Personal Information. These representations were likely to deceive members of

 the public, including the California Plaintiff and California Class members, into believing their

 Personal Information was securely stored, when it was not, and that Brinker was complying with

 relevant law when it was not.

        262.    Brinker engaged in fraudulent and deceptive acts and practices with regard to the

 payment card payment services provided to the California Class by omitting, suppressing, and

 concealing the material fact of the inadequacy of the privacy and security protections for California

 Class members’ Personal Information. At the time that California Class members were using

 Brinker’s credit card payment services, Brinker failed to disclose to California Class members that

 its data security systems failed to meet legal and industry standards for the protection of their

 Personal Information. Brinker became aware of breaches of its systems’ security on or about April

 19, 2018, including, but not limited to, the presence of malware on various internal systems as well

 as malicious hacking behavior. Brinker was, therefore, aware its data security was wholly

 inadequate and did not comply with industry standards. Knowledge of its inadequate data security

 was exclusive to Brinker and unknown to the California Plaintiff and California Class such that

 Brinker owed a duty to disclose that its systems had been breached. The fact of Brinker’s inadequate

 data security would be important to any reasonable consumer considering whether to patronize

 Brinker’s restaurants at that time. The California Plaintiff would not have made payment card

 purchases with Brinker had he known about its substandard data security practices and that its

 systems had been breached.


                                                  68
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 69 of 71 PageID 2288




        263.    As a direct and proximate result of Brinker’s deceptive practices and acts, the

 California Plaintiff and California Class members were injured and lost money or property,

 including but not limited to the price received by Brinker for its products and services, the loss of

 their legally protected interest in the confidentiality and privacy of their Personal Information, and

 additional losses described above.

        264.    Brinker knew or should have known that its computer systems and data security

 practices were inadequate to safeguard California Class members’ Personal Information and that

 the risk of a data breach or theft was highly likely. Brinker’s actions in engaging in the above-

 named unlawful practices and acts were negligent, knowing and willful, and/or wanton and reckless

 with respect to the rights of members of the California Class.

        265.    The California Plaintiff and California Class members seek relief under Cal. Bus. &

 Prof. Code § 17200, et. seq., including, but not limited to, restitution to the California Plaintiff and

 California Class members of money or property that Brinker may have acquired by means of its

 fraudulent and deceptive business practices, disgorgement of all profits accruing to Brinker because

 of its fraudulent and deceptive business practices as restitution, declaratory relief, attorney’s fees

 and costs (pursuant to Cal. Code Civ. Proc. §1021.5), and injunctive or other equitable relief.

                                      REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of all Class members proposed in

 this Complaint, respectfully request that the Court enter judgment in their favor and against Brinker

 as follows:




                                                   69
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 70 of 71 PageID 2289




        a.     For an Order certifying the Classes, as defined herein, and appointing Plaintiffs and

               their Counsel to represent the Nationwide Class, or in the alternative, the separate

               Statewide Classes;

        b.     For equitable relief enjoining Brinker from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of Plaintiffs’ and

               Class members’ Customer Data, and from refusing to issue prompt, complete and

               accurate disclosures to Plaintiffs and Class members;

        c.     For injunctive and other equitable relief as is necessary to protect the interests of

               Plaintiffs and class members, including but not limited to compelling Brinker to use

               appropriate cyber security methods and policies with respect to consumer data

               collection, storage and protection and to disclose with specificity to Class members

               the type of Customer Data compromised;

        d.     For an award of damages, including nominal damages, as allowed by law in an

               amount to be determined;

        e.     For an award of attorney’s fees costs and litigation expenses, as allowable by law;

        f.     For prejudgment interest on all amounts awarded; and

        g.     Such other and further relief as this Court may deem just and proper.

                                    JURY TRIAL DEMAND

                      Plaintiffs demand a jury trial on all issues so triable.

 Dated: February 28, 2020

                                             /s/ Jean Sutton Martin
                                             Jean Sutton Martin
                                             jeanmartin@ForThePeople.com
                                             Morgan & Morgan

                                                70
Case 3:18-cv-00686-TJC-MCR Document 95 Filed 02/28/20 Page 71 of 71 PageID 2290




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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 28, 2020, a true and correct copy of the foregoing

 was electronically filed with the Clerk of Court using CM/ECF. Copies of the foregoing document

 will be served upon interested counsel via transmission of Notices of Electronic Filing generated

 by CM/ECF.



                                                             /s/ Jean Sutton Martin




                                                71
